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                           Exhibit 49
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 ·1· · · UNITED STATES DISTRICT COURT
 · · · · SOUTHERN DISTRICT OF FLORIDA
 ·2· · · ------------------------------x
 · · · · ALEKSEJ GUBAREV, XBT HOLDING
 ·3· · · S.A., AND WEBZILLA, INC.,

 ·4· · · · · · · · · · ·Plaintiffs,

 ·5· · · · · · ·vs.· · · ·Case No. 1:17-cv-60426-UU

 ·6· · · BUZZFEED, INC. AND BEN SMITH,

 ·7· · · · · · · · · · ·Defendants.
 · · · · ------------------------------x
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 10· · · · · · · · · · ALEKSEJ GUBAREV

 11· · · · · · · · · New York, New York

 12· · · · · · · ·Thursday, June 28, 2018

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 22· · · Reported by:· Steven Neil Cohen, RPR

 23· · · Job No. 237459

 24

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 ·1· · · · · · · · · · June 28, 2018

 ·2· · · · · · · · · · · ·9:39 a.m.

 ·3

 ·4· · · · · · · · Videotaped Deposition of ALEKSEJ

 ·5· · · GUBAREV, taken by Defendants, pursuant to

 ·6· · · notice, at the offices of Davis Wright

 ·7· · · Tremaine LLP, 1251 Avenue of the Americas,

 ·8· · · New York, New York,· before Steven Neil

 ·9· · · Cohen, a Registered Professional Reporter

 10· · · and Notary Public of the State of New York.

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 ·1· · · · · · · · · · · APPEARANCES

 ·2

 ·3· · · BOSTON LAW GROUP, PC

 ·4· · · 825 Beacon Street

 ·5· · · Suite 20

 ·6· · · Newton Center, Massachusetts 02459

 ·7· · · · · · · · Attorneys for Plaintiffs

 ·8· · · BY:· · VAL GURVITS, ESQ.

 ·9

 10· · · DAVIS WRIGHT TREMAINE LLP

 11· · · 1251 Avenue of the Americas

 12· · · New York, New York 10020

 13· · · · · · · · Attorneys for Defendants

 14· · · BY:· · KATHERINE M. BOLGER, ESQ.

 15· · · · · · ·NATHAN SIEGEL, ESQ.

 16· · · · · · ·ADAM LAZIER, ESQ.

 17

 18

 19· · · ALSO PRESENT:

 20· · · · · · · Elana Pick, Interpreter

 21· · · · · · · Kevin Marth, Videographer

 22

 23

 24

 25


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 ·1· · · · · · · · IT IS HEREBY STIPULATED AND

 ·2· · · AGREED, by and between counsel for the

 ·3· · · respective parties hereto, that the sealing

 ·4· · · and filing of the within deposition be

 ·5· · · waived; that such deposition may be signed

 ·6· · · and sworn to before any officer authorized

 ·7· · · to administer an oath; that all objections,

 ·8· · · except as to form are reserved to the time

 ·9· · · of trial.

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 ·1· · · · · · · · THE VIDEOGRAPHER:· Good morning.

 ·2· · · · · This marks the start of media number 1

 ·3· · · · · of the videotaped deposition of

 ·4· · · · · Mr. Aleksej Gubarev in the matter of

 ·5· · · · · Aleksej Gubarev, et al., versus

 ·6· · · · · Buzzfeed, Inc., et al., in the United

 ·7· · · · · States District Court for the Southern

 ·8· · · · · District of Florida, case number

 ·9· · · · · 117-CV-60426.

 10· · · · · · · · The deposition today is being

 11· · · · · held in the offices of Davis Wright

 12· · · · · Tremaine, LLP on June 28, 2018.

 13· · · · · · · · My name is Kevin Marth.· I am

 14· · · · · the legal videographer today from U.S.

 15· · · · · Legal Support.

 16· · · · · · · · Our court reporter today is

 17· · · · · Mr. Steven Cohen also representing

 18· · · · · U.S. Legal Support.

 19· · · · · · · · We are going on the record at

 20· · · · · 9:39 a.m.

 21· · · · · · · · At this time would counsel

 22· · · · · please state their appearances for the

 23· · · · · record?

 24· · · · · · · · MR. GURVITS:· Val Gurvits for

 25· · · · · plaintiffs and the deponent.


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 ·1· · · · · · · · MS. BOLGER:· Kate Bolger from

 ·2· · · · · Davis Wright Tremaine.

 ·3· · · · · · · · With me is Nathan Siegel both of

 ·4· · · · · Davis Wright Tremaine on behalf of the

 ·5· · · · · defendants.

 ·6· · · · · · · · THE VIDEOGRAPHER:· At this time

 ·7· · · · · will the court reporter please swear

 ·8· · · · · in the witness and the interpreter and

 ·9· · · · · you may proceed?

 10· · · · · · · · (Interpreter sworn)

 11· · · ALEKSEJ GUBAREV, called as a witness by

 12· · · · ·the Defendants, having been duly sworn,

 13· · · · ·testified as follows:

 14· · · EXAMINATION

 15· · BY MS. BOLGER:

 16· · · · · Q.· · So, Mr. Gubarev, I know you have

 17· · · been through this drill before although I

 18· · · haven't been the one asking the questions.

 19· · · Today is a little different.· You are here

 20· · · as the designated 30(b)(6) witness for the

 21· · · company which means you are here to talk

 22· · · about the knowledge of XBT and Webzilla, is

 23· · · that -- just XBT, sorry, the knowledge of

 24· · · XBT.

 25· · · · · · · · Is that your understanding too?


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 ·1· · · · · A.· · Yes.

 ·2· · · · · Q.· · Great.

 ·3· · · · · · · · I am going to ask Steve to hand

 ·4· · · you a document that was produced by y'all in

 ·5· · · this litigation as PT4.

 ·6· · · · · · · · (Spreadsheet was marked Exhibit 1

 ·7· · · for identification)

 ·8· · BY MS. BOLGER:

 ·9· · · · · Q.· · Mr. Gubarev, I asked both

 10· · · Mr. Bezruchenko and Mr. Geoderich about this

 11· · · exhibit and they couldn't tell me much about

 12· · · it so I am hoping you can tell me.

 13· · · · · · · · Do you know what this document is?

 14· · · · · A.· · This document was created to

 15· · · investigate IP which was mentioned in one

 16· · · report -- in one report.

 17· · · · · Q.· · Is that the Grizzly Steppe report,

 18· · · the American FBI and Department of Justice

 19· · · report about the hacks, Russian attacks on

 20· · · the dem -- sorry, on the American electoral

 21· · · system?

 22· · · · · · · · MR. GURVITS:· Objection.

 23· · · · · · · · You may answer if you can.

 24· · · · · · · · THE WITNESS:· I don't know if it

 25· · · · · is true what they publish -- I don't


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 ·1· · · · · know what this mean FBI.· I know this

 ·2· · · · · IP, it was just related to our

 ·3· · · · · company.

 ·4· · · · · · · · MS. BOLGER:· Evaluating his

 ·5· · · · · company.

 ·6· · · · · · · · MR. GURVITS:· "Related."

 ·7· · · · · · · · THE WITNESS:· Related to my

 ·8· · · · · company.

 ·9· · · · · · · · MS. BOLGER:· Sorry.

 10· · BY MS. BOLGER:

 11· · · · · Q.· · Right.· But these are the 13 IP

 12· · · addresses that were related to XBT

 13· · · affiliates that were identified on the

 14· · · American government report, correct?

 15· · · · · · · · MR. GURVITS:· Objection.

 16· · · · · · · · THE WITNESS:· I don't know.

 17· · BY MS. BOLGER:

 18· · · · · Q.· · What do you think the -- why do

 19· · · you think y'all looked into these 13 IP

 20· · · addresses?

 21· · · · · A.· · I don't believe there are 13.

 22· · · · · Q.· · Yes.

 23· · · · · A.· · Could you repeat your question?           I

 24· · · don't understand.· Sorry.

 25· · · · · Q.· · Why were these -- why did y'all


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  ·1· · · investigate these specific IP addresses?

  ·2· · · · · A.· · Because it was in my report and we

  ·3· · · checked what is happening with them.

  ·4· · · · · Q.· · Okay.· I am trying to figure out

  ·5· · · what report that was to see if there is a

  ·6· · · report I don't know about.

  ·7· · · · · · · · Is it the report that the American

  ·8· · · government put out with IP addresses

  ·9· · · affiliated in some way with Russian cyber

  10· · · attacks?

  11· · · · · A.· · I would like to make it clear.

  12· · · · · Q.· · Okay.

  13· · · · · A.· · I don't know what FBI mentioned to

  14· · · each IP.· It was just mentioned list of IP.

  15· · · But you don't know what IP was done for

  16· · · what.· Is now no details for that available.

  17· · · · · Q.· · Sure.· I think you are a step

  18· · · ahead of me.

  19· · · · · · · · I understand that the report

  20· · · listed IP addresses and there were no

  21· · · details available which is I think what you

  22· · · just said, is that right?

  23· · · · · A.· · Right.

  24· · · · · Q.· · But I want to know what the report

  25· · · is that those IP addresses was attached to.


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  ·1· · · · · · · · The report is the report of the

  ·2· · · American government about Russian hacking,

  ·3· · · correct?

  ·4· · · · · A.· · I don't know details.· I tell you

  ·5· · · again.· There was no details in this report,

  ·6· · · how each IP was connected to what.· It was a

  ·7· · · general report.· Very general.

  ·8· · · · · Q.· · What was the general topic of the

  ·9· · · report?

  10· · · · · A.· · About some attacks.· I don't know

  11· · · like full details of that because it was

  12· · · very general report.

  13· · · · · Q.· · What kind of attacks?

  14· · · · · A.· · Different ones.

  15· · · · · Q.· · What kinds of different attacks?

  16· · · · · A.· · I don't know because report is not

  17· · · specific on everything.

  18· · · · · Q.· · Was the report about shark attacks

  19· · · on a beach in Miami or was the report about

  20· · · cyber attacks?

  21· · · · · A.· · Some kind of attacks.

  22· · · · · Q.· · What kind of attacks, cyber

  23· · · attacks?

  24· · · · · A.· · I don't know exact details because

  25· · · as I told you not me who had this report.


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  ·1· · · How I can know what they think in their mind

  ·2· · · about these IPs.

  ·3· · · · · Q.· · You know what the subject of the

  ·4· · · report was.· You said the subject of the

  ·5· · · report was attacks.· I have asked you what

  ·6· · · kind of attacks.· I have asked you if they

  ·7· · · were shark attacks or cyber attacks.

  ·8· · · · · · · · Are you telling me you can't tell

  ·9· · · me whether that report was about shark

  10· · · attacks or cyber attacks?

  11· · · · · A.· · No.· It was related to computers,

  12· · · 100 percent.

  13· · · · · Q.· · It was related to cyber attacks,

  14· · · correct?

  15· · · · · A.· · Computers, attack.

  16· · · · · Q.· · Computer attacks?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · The report was released by the

  19· · · American government, right?

  20· · · · · A.· · Yes.

  21· · · · · Q.· · Okay.· And it was actually about

  22· · · Russian computer attacks, right?

  23· · · · · A.· · I don't know this.

  24· · · · · Q.· · You don't know that the report was

  25· · · about Russian computer attacks?


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  ·1· · · · · A.· · There is no details about that.

  ·2· · · · · Q.· · Okay.· We will just get the

  ·3· · · report.

  ·4· · · · · · · · Okay.· Who generated this

  ·5· · · document?

  ·6· · · · · A.· · It was abuse team of the company

  ·7· · · and then later reviewed by Konstantine

  ·8· · · Bezruchenko.

  ·9· · · · · Q.· · When you say it was created by the

  10· · · "abuse team of the company," who is the head

  11· · · of the abuse team?

  12· · · · · A.· · Well --

  13· · · · · Q.· · Who was the head of the abuse team

  14· · · at the time this was created?

  15· · · · · A.· · Konstantine Bezruchenko.· He is

  16· · · the head of this operation and all report to

  17· · · him.

  18· · · · · Q.· · Okay.· Who is Ksenia?

  19· · · · · A.· · Ksenia is one of the employee.

  20· · · · · Q.· · What is Ksenia's full name?

  21· · · · · A.· · Ksenia.

  22· · · · · Q.· · Full name.· Last name?

  23· · · · · A.· · I don't remember.· I am not good

  24· · · on names.· I told you about that before.

  25· · · · · Q.· · I know, Mr. Gubarev.· Today is


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  ·1· · · different though.· Remember you are the

  ·2· · · person who is supposed to have the knowledge

  ·3· · · of XBT, right?· It is not just you.

  ·4· · · · · · · · MR. GURVITS:· Objection.

  ·5· · BY MS. BOLGER:

  ·6· · · · · Q.· · It is the knowledge of XBT.· That

  ·7· · · is why you are here today.

  ·8· · · · · · · · MR. GURVITS:· Objection.

  ·9· · · · · · · · THE WITNESS:· Ask you, do I have

  10· · · · · to remember 420 employees' names and

  11· · · · · surnames today?

  12· · BY MS. BOLGER:

  13· · · · · Q.· · No.· I asked you to be prepared to

  14· · · testify about this document though.

  15· · · · · A.· · Complicated question for me.

  16· · · · · Q.· · So I am going to leave a blank in

  17· · · the transcript and ask you to fill in

  18· · · Ksenia's last name.

  19· · · · · · · · TO BE FURNISHED:______________.

  20· · BY MS. BOLGER:

  21· · · · · Q.· · Did Ksenia create this report?

  22· · · · · A.· · Yes, he -- it was not one person.

  23· · · It was Ksenia and then Konstantine

  24· · · Bezruchenko reviewed and those -- let you

  25· · · speak with Mark.


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  ·1· · · · · Q.· · I understood but would you mind

  ·2· · · repeating it?· I understood you but let's

  ·3· · · make sure Steve does.

  ·4· · · · · A.· · It was Ksenia, reviewed by

  ·5· · · Konstantine but also ask some question Mark

  ·6· · · who is CEO of this company as you know.

  ·7· · · · · Q.· · Okay.· So what you are saying is

  ·8· · · it was created by Ksenia, reviewed by

  ·9· · · Mr. Bezruchenko and Mr. Bezruchenko

  10· · · solicited input from Mark -- is that -- Mark

  11· · · Geoderich, is that right?

  12· · · · · A.· · He called him, yes, 100 percent.

  13· · · · · Q.· · You said "he called him"?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · Okay.· So created by Ksenia,

  16· · · reviewed by Mr. Bezruchenko who called

  17· · · Mr. Goederich, is that right?

  18· · · · · A.· · Yes.

  19· · · · · Q.· · Okay.· What was the purpose of

  20· · · creating this document?

  21· · · · · A.· · To find out what is happening with

  22· · · these IPs.

  23· · · · · Q.· · To find out what happened with

  24· · · these IPs?

  25· · · · · A.· · Four years, I think four years,


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  ·1· · · yes.

  ·2· · · · · Q.· · I am sorry.· Why do you think it

  ·3· · · is four years?

  ·4· · · · · A.· · I think is four because the start

  ·5· · · dates for some IP, 2013 as you can see and I

  ·6· · · believe this was four years.

  ·7· · · · · Q.· · Not every line has a four-year

  ·8· · · amount of time, correct?

  ·9· · · · · A.· · Yes, because some of them was not

  10· · · used before.

  11· · · · · Q.· · Okay.· I would like to go through

  12· · · the columns if you wouldn't mind so you can

  13· · · just tell me what each column means.· Okay?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · So the first column says "IP,"

  16· · · correct?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · What is that?

  19· · · · · A.· · IP address which belonged to our

  20· · · company which giving to rent to the clients.

  21· · · · · Q.· · The next thing says "Owner,"

  22· · · correct, the next column says "Owner"?

  23· · · · · A.· · Yes.· This is actually you print

  24· · · longly if you see there is a number there.

  25· · · It should be where the owner is a number.


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  ·1· · · You see this number.

  ·2· · · · · Q.· · Can we just one second.· Actually

  ·3· · · they all say "no owner."

  ·4· · · · · A.· · No.· You print longly.· Owner is a

  ·5· · · number which you see just a little bit on

  ·6· · · the right.· Just you make this spreadsheet

  ·7· · · and we agreed that --

  ·8· · · · · Q.· · No, y'all made this spreadsheet,

  ·9· · · Mr. Gubarev.· We did not create this

  10· · · document.· Y'all created this document.

  11· · · · · A.· · Yes but you printed in the wrong

  12· · · way.

  13· · · · · Q.· · No, no.· This is literally -- this

  14· · · is what you gave us.· We didn't print this.

  15· · · This is what you gave us.· So that is why I

  16· · · am trying to understand it.· We didn't

  17· · · generate this document.

  18· · · · · A.· · I know that you -- but I told you

  19· · · again you don't print in proper way.

  20· · · · · Q.· · We didn't print the document.

  21· · · This is what the document looked like.· This

  22· · · is a screen shot of the document, this is a

  23· · · picture of the document.· This is an image

  24· · · of the document.

  25· · · · · A.· · This I don't know.· But as I told


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  ·1· · · you for owner is this number which is

  ·2· · · related on the right.

  ·3· · · · · Q.· · "Related on the right." So

  ·4· · · let's --

  ·5· · · · · A.· · A little bit on the right you see

  ·6· · · it.

  ·7· · · · · Q.· · I understand.· So let's look at

  ·8· · · the first example.· It says

  ·9· · · IP212.117.180.130.· Right?· You with me?

  10· · · · · A.· · Yes.

  11· · · · · Q.· · Okay.· Then there is -- it says

  12· · · "Owner," there is a kind of a blank space

  13· · · there and it says 11941V41 --

  14· · · · · A.· · Stop.· Stop.· Stop.

  15· · · · · · · · 111411941.· Stop here.· Okay?

  16· · · · · Q.· · Yes.

  17· · · · · A.· · This is owner.

  18· · · · · Q.· · That is the owner.· Okay.· Why

  19· · · does it then say "no owner" underneath it?

  20· · · · · A.· · This is the system.· Maybe in this

  21· · · moment there is no owner of this account,

  22· · · like from reviewed of 2016, if you check the

  23· · · line please go one line below.· From 2016 --

  24· · · · · Q.· · Just so we are -- just so the

  25· · · record is clear.· Let's actually stick with


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  ·1· · · the line we have because I think I have got

  ·2· · · you.

  ·3· · · · · A.· · You understand, yes?

  ·4· · · · · Q.· · I think I do.· So let me go

  ·5· · · through it.

  ·6· · · · · · · · So for the IP address

  ·7· · · 212.117.180.130 the owner was 11941 for the

  ·8· · · period from 2017-01-25 to the present?

  ·9· · · · · A.· · Correct.

  10· · · · · Q.· · But there was no owner from the

  11· · · period 2016-12-28 to 2017-01-25; is that

  12· · · correct?

  13· · · · · A.· · Yes.· This is what I mentioned to

  14· · · you.

  15· · · · · Q.· · Okay.· Thank you.

  16· · · · · · · · I want to talk about there being

  17· · · no owner.· So that is about a month,

  18· · · correct, 12/28/2016 through 1/25/2017, it is

  19· · · like 28 days, right?

  20· · · · · A.· · Yes.

  21· · · · · Q.· · Okay.· What does it mean that

  22· · · there was no owner during that time period?

  23· · · · · A.· · This means this IP address was not

  24· · · allocated to any customer.

  25· · · · · Q.· · Does that mean it was not being


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  ·1· · · used or does that mean you didn't know the

  ·2· · · owner's name?

  ·3· · · · · A.· · It was not in use.

  ·4· · · · · Q.· · Okay.· Thank you.

  ·5· · · · · · · · Then the next column to the right

  ·6· · · is "Server" and you will see in our first

  ·7· · · line which is what we were talking about it

  ·8· · · says "V 4163."

  ·9· · · · · · · · Do you see that?

  10· · · · · A.· · That's correct.

  11· · · · · Q.· · And that server V 4163, what does

  12· · · that number indicate?

  13· · · · · A.· · Physical virtual server located in

  14· · · Luxembourg.

  15· · · · · Q.· · How do you know it -- if it is V

  16· · · 4163 how do you know it was located in

  17· · · Luxembourg?

  18· · · · · A.· · Because this all request about

  19· · · Luxembourg company.

  20· · · · · Q.· · Okay.· Are all servers used by

  21· · · Root SA located in Luxembourg?

  22· · · · · A.· · Most of them, yes.

  23· · · · · Q.· · That wasn't my question.· I said

  24· · · "all."

  25· · · · · A.· · 99 percent.


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  ·1· · · · · Q.· · If you looked -- and the reason I

  ·2· · · am asking if you look down to the third IP

  ·3· · · address that begins 94.242.195.186, are you

  ·4· · · with me?

  ·5· · · · · A.· · Yes.

  ·6· · · · · Q.· · That server has a prefix LU added.

  ·7· · · · · · · · Do you see that?

  ·8· · · · · A.· · "LU" is Luxembourg.

  ·9· · · · · Q.· · Right.· I agree.

  10· · · · · · · · But the first server we talked

  11· · · about V 4163 doesn't have an LU.· Does that

  12· · · mean it is not in Luxembourg?

  13· · · · · A.· · Well, actually -- actually you

  14· · · have some servers in Singapore, the last

  15· · · ones.· Luxembourg or Singapore.

  16· · · · · Q.· · Singapore.

  17· · · · · A.· · If checked here, it is a different

  18· · · number so it is a different server.· We have

  19· · · three zones of the servers in Luxembourg.

  20· · · One is tier 2 zone, one is tier 4 zone and

  21· · · we also have virtual machines.· We have

  22· · · different numbers for the different type of

  23· · · products.· This is how it works.

  24· · · · · Q.· · I understand, you have different

  25· · · numbers for different types of products.          I


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  ·1· · · want to know why you think this server was

  ·2· · · in Luxembourg?

  ·3· · · · · A.· · It was very easy to check.· Where

  ·4· · · this belongs.· The server, like this IP, you

  ·5· · · can make it who can see where it is located.

  ·6· · · You can make a -- who is request.

  ·7· · · · · Q.· · Right.· Right.· But this doesn't

  ·8· · · say Luxembourg on it.· I know -- I know how

  ·9· · · you look up a server -- an IP address.· That

  10· · · is not my question.

  11· · · · · · · · This server number V 4163, how do

  12· · · you know where that is located just by

  13· · · looking at the server number?

  14· · · · · A.· · Just by looking at server number?

  15· · · · · Q.· · Yes.

  16· · · · · A.· · If I don't have nothing else in

  17· · · front of me.· And I mean you just give me

  18· · · this number out of your head.

  19· · · · · Q.· · Not off the top of my head, off

  20· · · the document but yes.

  21· · · · · A.· · I mean you cannot found anything

  22· · · with that because I can tell you any random

  23· · · number and you cannot found anything.

  24· · · · · Q.· · Okay.· So this is essentially the

  25· · · number on the bare metal box, is that a good


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  ·1· · · way of putting it?

  ·2· · · · · A.· · We are not putting -- I think, no.

  ·3· · · We are not putting -- is a different number

  ·4· · · for the physical machines.

  ·5· · · · · Q.· · Okay.· So then tell me again what

  ·6· · · is this a number of?

  ·7· · · · · A.· · Is the number of the machine which

  ·8· · · was created for him, for server.· When you

  ·9· · · set up server you create allocation of the

  10· · · name and you see like even the same IP,

  11· · · several name is changing.

  12· · · · · Q.· · Okay.

  13· · · · · A.· · Why it is changing because new

  14· · · customer get it and 100 percent verification

  15· · · of customer, you have a different server

  16· · · name to each customer to make it --

  17· · · choose -- to make sure you describe them

  18· · · properly.

  19· · · · · · · · MR. GURVITS:· Identify.

  20· · BY MS. BOLGER:

  21· · · · · Q.· · Okay.· So "Period" I understand is

  22· · · the period of ownership for any given owner,

  23· · · correct?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · "Traffic in gigabytes."· What does


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  ·1· · · traffic in gigabytes reflect?

  ·2· · · · · A.· · Is -- in Luxembourg we have three

  ·3· · · different packages of the products.· One is

  ·4· · · unlimited traffic so when you have connected

  ·5· · · line and we don't count how much traffic you

  ·6· · · use on this line, bandwidth.

  ·7· · · · · · · · THE INTERPRETER:· On this

  ·8· · · · · bandwidth.

  ·9· · BY MS. BOLGER:

  10· · · · · Q.· · Okay.

  11· · · · · A.· · You have packages where you pay

  12· · · for the traffic for actual usage and you

  13· · · have prepaid packages for where you use some

  14· · · amount of gigabyte is included.

  15· · · · · Q.· · Okay.· So just -- I appreciate

  16· · · that.· It was helpful.· Talking about what

  17· · · this says.· "Traffic in gigabytes."· I am

  18· · · assuming that this column is a reflection of

  19· · · whatever information XBT had about traffic

  20· · · into that server during that time period, is

  21· · · that right?

  22· · · · · A.· · No.

  23· · · · · Q.· · What is it?

  24· · · · · A.· · I told you just traffic, package

  25· · · which they use.


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  ·1· · · · · Q.· · Okay.

  ·2· · · · · A.· · I should explain to you.

  ·3· · · · · Q.· · Yes.· I do want you to -- I

  ·4· · · understand that you have three different

  ·5· · · packages but I don't understand how that

  ·6· · · means --

  ·7· · · · · A.· · One is -- one is not mentioned

  ·8· · · that means we don't count how much traffic

  ·9· · · is used.

  10· · · · · Q.· · Okay.· I understand that and that

  11· · · was going to be my next question but I just

  12· · · want you to tell me what the words mean at

  13· · · the moment at the top of the column which

  14· · · are "traffic in gigabytes."

  15· · · · · A.· · Yes.

  16· · · · · Q.· · That would be where if you had

  17· · · measured traffic for this IP address during

  18· · · that period of time you would have written

  19· · · down the amount of traffic recorded on that

  20· · · server coming into that server, correct?

  21· · · · · A.· · If it is unlimited package I don't

  22· · · have to count.

  23· · · · · Q.· · I understand that.· But I am

  24· · · telling you if you had a measure of traffic

  25· · · you would have put it right there, correct?


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  ·1· · · If you had to measure.

  ·2· · · · · A.· · It is not a good question.

  ·3· · · · · Q.· · Not if it is unlimited.         I

  ·4· · · understand you can buy an unlimited plan and

  ·5· · · if you buy an unlimited plan you guys

  ·6· · · wouldn't measure the traffic.

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · So there would be nothing in that

  ·9· · · column.

  10· · · · · A.· · Yes.

  11· · · · · Q.· · What I am saying is that if the

  12· · · person had to pay per usage that was your

  13· · · second plan you described --

  14· · · · · A.· · Yes.

  15· · · · · Q.· · -- the usage would be reflected in

  16· · · that column?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · Correct.· And in the first column

  19· · · you would reflect the usage of traffic into

  20· · · the server, correct?

  21· · · · · A.· · Correct.

  22· · · · · Q.· · And in the second column you would

  23· · · reflect traffic out of the server?

  24· · · · · A.· · Correct.

  25· · · · · Q.· · But the absence of data in these


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  ·1· · · columns means that these people had

  ·2· · · unlimited data plans; is that correct?

  ·3· · · · · A.· · Yes.

  ·4· · · · · Q.· · Okay.· The next is "Customer

  ·5· · · Name."

  ·6· · · · · · · · Do you see that?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · Okay.· Those are the individuals

  ·9· · · who rented the IP addresses during

  10· · · particular time periods, correct?

  11· · · · · A.· · As they entered one of the product

  12· · · of the company which included the IP

  13· · · address.· You cannot rent just IP address.

  14· · · · · · · · You have to have physical server

  15· · · or virtual server which connected.

  16· · · · · Q.· · Okay.· And then the e-mail address

  17· · · is there, correct?

  18· · · · · A.· · Yes.

  19· · · · · Q.· · And the e-mail address is provided

  20· · · by the customer and y'all don't provide that

  21· · · address or authenticate that address,

  22· · · correct, they just provide that information

  23· · · to you, correct?

  24· · · · · A.· · Yes.· They provide us customer

  25· · · name and e-mail.


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  ·1· · · · · Q.· · Then it says "Managed Tickets."

  ·2· · · · · · · · Do you see that?

  ·3· · · · · A.· · Yes.

  ·4· · · · · Q.· · What is a "managed ticket"?

  ·5· · · · · A.· · When they need some work, for

  ·6· · · example, in server, you have broken hard

  ·7· · · disk, for example you need to upgrade the

  ·8· · · memory in the server or you need to change

  ·9· · · your plan.

  10· · · · · Q.· · Okay.· You have both managed and

  11· · · unmanaged servers, correct?

  12· · · · · A.· · No.

  13· · · · · Q.· · At Root do you only have unmanaged

  14· · · servers?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · So given that they were unmanaged

  17· · · servers why would there be management --

  18· · · managed tickets?

  19· · · · · A.· · Because is a request to do

  20· · · something physical with the server.· You

  21· · · have to manage hard wiring because it is

  22· · · management --

  23· · · · · Q.· · So I understand.

  24· · · · · · · · So what you are talking about

  25· · · really like essential maintenance of the


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  ·1· · · hardware you provide rather than for example

  ·2· · · maintenance of the network?

  ·3· · · · · A.· · You provide him physical server or

  ·4· · · virtual server, you provide him a network,

  ·5· · · IP addresses, connectivity.· It is all

  ·6· · · product altogether.· And this is like you

  ·7· · · still have to manage your infrastructure.

  ·8· · · That is why it is managed ticket.

  ·9· · · · · Q.· · Okay.· I understand.

  10· · · · · · · · "RT Tickets."· What are RT

  11· · · tickets?

  12· · · · · A.· · Tickets also which created by the

  13· · · customers, which is abuse tickets which

  14· · · coming in to the customer.

  15· · · · · Q.· · Okay. So RT tickets are abuse

  16· · · tickets that come in for the customer?

  17· · · · · A.· · Not only.· I told you it is --

  18· · · · · Q.· · What are -- what are the other

  19· · · kinds of tickets it could be?

  20· · · · · A.· · As a request from the customer

  21· · · which does not require management.· A server

  22· · · can go down.

  23· · · · · Q.· · Server what?

  24· · · · · · · · MR. GURVITS:· Server goes down.

  25· · · · · · · · THE WITNESS:· Server goes down.


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  ·1· · BY MS. BOLGER:

  ·2· · · · · Q.· · That is not a managed ticket?

  ·3· · · · · A.· · No.· You just reboot it.· I mean

  ·4· · · it is required any work because people don't

  ·5· · · have to go physically to the server.· They

  ·6· · · just hit the button and it is booted

  ·7· · · remotely.

  ·8· · · · · Q.· · What is the process for

  ·9· · · generating -- if I am the customer, I am

  10· · · saying in this case I am Valeriya Kancara

  11· · · what is the process by which Valeriya

  12· · · Kancara generates a managed ticket?

  13· · · · · A.· · She sent an e-mail to

  14· · · support@server.LU or use any other

  15· · · electronic mail --

  16· · · · · Q.· · Servers.LU?

  17· · · · · A.· · No.· Without s.

  18· · · · · Q.· · Server.LU.

  19· · · · · A.· · Or use any other way of

  20· · · communication including phone calls.

  21· · · · · Q.· · What is the process for generating

  22· · · an RT ticket?

  23· · · · · A.· · The same.

  24· · · · · Q.· · Same address?

  25· · · · · A.· · Is different like -- could you


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  ·1· · · make more specific question?

  ·2· · · · · Q.· · Sure.

  ·3· · · · · · · · When Mr. Goederich was here --

  ·4· · · Mr. Gubarev, as you know by now, you can

  ·5· · · take a break any time.

  ·6· · · · · A.· · Just a water.

  ·7· · · · · Q.· · That's fine.

  ·8· · · · · · · · When Mr. Goederich and

  ·9· · · Mr. Bezruchenko and I talked to they told me

  10· · · that the RT system was the abuse ticket

  11· · · management system and that the abuse tickets

  12· · · were generated in a couple different ways

  13· · · but that the e-mail address used to generate

  14· · · them was abuse@server.LU?

  15· · · · · A.· · Is both e-mails.· You can send to

  16· · · support and also create a ticket.

  17· · · · · · · · You can send to abuse, is also

  18· · · create a ticket.

  19· · · · · Q.· · Do both the managed tickets and

  20· · · the RT tickets go through the RT system?

  21· · · · · A.· · For most -- yes, I think so.

  22· · · · · Q.· · Yes?

  23· · · · · A.· · Yes.· Yes.

  24· · · · · Q.· · Okay.· So then the next column

  25· · · says "Cancellation."


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  ·1· · · · · · · · What do you understand that column

  ·2· · · to be about?

  ·3· · · · · A.· · Is reason of cancellation which we

  ·4· · · find out or if we don't find out there is

  ·5· · · nothing.

  ·6· · · · · Q.· · Okay.· So in the case of Valeriya

  ·7· · · there was no cancellation because she was

  ·8· · · still a customer, correct?

  ·9· · · · · A.· · Yes.· She is still customer.· At

  10· · · the time when this document was created.

  11· · · · · Q.· · Great.· Okay.

  12· · · · · · · · Then the comment as "VPN as a

  13· · · service."

  14· · · · · · · · Do you see that?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · First of all, what is the

  17· · · cancellation -- I am sorry.

  18· · · · · · · · What is the column -- I am sorry.

  19· · · · · · · · What is the "Comment" column

  20· · · about, what information does that include?

  21· · · · · A.· · The comment column is when we do

  22· · · this investigation we have to find out what

  23· · · the customer activity related to this IP,

  24· · · what he is doing as a business, if it is

  25· · · possible and we put the comments here to


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  ·1· · · understand what is actually doing.

  ·2· · · · · Q.· · Okay.· What does "VPN as a

  ·3· · · service" mean?

  ·4· · · · · A.· · VPN is a service as very popular

  ·5· · · product in the world and a lot of big

  ·6· · · companies go to that, even Google, Amazon

  ·7· · · provide VPN services.· This idea is -- if

  ·8· · · you -- I give you like -- if you want to

  ·9· · · watch some -- you move from UK and to United

  10· · · States but some TV channels don't allow you

  11· · · to watch UK TV stations.· The people buy VPN

  12· · · to show they are located in United Kingdom,

  13· · · they buy subscription in United Kingdom and

  14· · · they watch these things.· It is one of the

  15· · · things for which VPN is used and is one of

  16· · · the most popular.

  17· · · · · Q.· · Okay.· What does "VPN" stand for?

  18· · · · · A.· · Sorry?

  19· · · · · Q.· · What does "VPN" stand for?

  20· · · · · A.· · Virtual Private Network.

  21· · · · · Q.· · Right.· Is a virtual private

  22· · · network encrypted?

  23· · · · · A.· · Yes.

  24· · · · · Q.· · Who has the capacity to break that

  25· · · encryption?


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  ·1· · · · · A.· · I don't know.

  ·2· · · · · · · · First of all, it is not by

  ·3· · · servers.· You asked me something about by

  ·4· · · server.· I don't know what your capacity to

  ·5· · · break the server.· Breaks the service.

  ·6· · · · · Q.· · I am not asking about this

  ·7· · · specific server so much or your individual

  ·8· · · capacity but the point is a VPN is an

  ·9· · · encrypted network, correct, that the user

  10· · · has or the owner has access to but is

  11· · · otherwise not accessible by third parties,

  12· · · correct?

  13· · · · · A.· · Depends how you configure it

  14· · · because a lot of big companies like

  15· · · Microsoft and everybody they also provide

  16· · · VPN service to their employees and they are

  17· · · able to see what their employees are doing,

  18· · · they see what they are doing.

  19· · · · · Q.· · Right.· People who have access to

  20· · · the VPN have access to the VPN but other

  21· · · people do not, correct?

  22· · · · · A.· · I mean "other people," could you

  23· · · be a little more specific?

  24· · · · · Q.· · Sure.· There is a VPN here at my

  25· · · office.


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  ·1· · · · · A.· · Yes.

  ·2· · · · · Q.· · I understand that.· When I log

  ·3· · · into my computer from home I log into the

  ·4· · · VPN of the law firm of Davis Wright

  ·5· · · Tremaine, correct?

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · But you cannot log into the

  ·8· · · network, correct?

  ·9· · · · · A.· · No.

  10· · · · · Q.· · Because you do not have access to

  11· · · the VPN, correct?

  12· · · · · A.· · Correct.

  13· · · · · Q.· · Okay.· So nobody who doesn't have

  14· · · access to the VPN can get access to the VPN?

  15· · · · · A.· · Is different things.· VPN and

  16· · · connection to the -- to your company.          I

  17· · · mean VPN is one service and connection to

  18· · · your company is different service.· It

  19· · · depends how your network is configured.

  20· · · · · Q.· · I didn't ask about my company.           I

  21· · · said nobody -- the person who sets up a VPN

  22· · · gives -- the person who sets up a VPN

  23· · · authorizes certain people to have access to

  24· · · that VPN, correct?

  25· · · · · A.· · You can authorize or you can just


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  ·1· · · buy subscription to have access.

  ·2· · · · · Q.· · Even that subscription has to be

  ·3· · · authorized by the owner the VPN?

  ·4· · · · · A.· · Usually automatically.

  ·5· · · · · Q.· · If the person who set up the VPN

  ·6· · · gives you access you can't get permission --

  ·7· · · sorry.· You can't get access to a VPN

  ·8· · · without permission, correct?

  ·9· · · · · A.· · You have to have authorization.

  10· · · Some kind of authorization.

  11· · · · · Q.· · Okay.

  12· · · · · A.· · But just to be -- a lot of free

  13· · · VPN services.· You know about that.

  14· · · · · Q.· · Yes.· Sure, but that is not my

  15· · · question.

  16· · · · · · · · Okay.· So I want you to skip down

  17· · · if you would on the sheet to, it is the

  18· · · second customer name which is Tim Semejin?

  19· · · · · A.· · Yes.

  20· · · · · Q.· · Are you with me?

  21· · · · · A.· · Yes.

  22· · · · · Q.· · Okay.· Has managed tickets and

  23· · · there are numbers there.· Do you see them,

  24· · · 42993.· What are those?

  25· · · · · A.· · This -- his request which he has


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  ·1· · · to do for his server.

  ·2· · · · · Q.· · Okay.· But that request, the

  ·3· · · number for example 42993, that request is a

  ·4· · · description of a particular -- it is not the

  ·5· · · number on the ticket, it is a description of

  ·6· · · the service requested, correct?

  ·7· · · · · A.· · No.· It is the number of the

  ·8· · · ticket.· As you see each of them has

  ·9· · · individual number.· I mean they don't --

  10· · · they never actually cross.

  11· · · · · Q.· · Actually they do.· If you go to

  12· · · the next listing of numbers there is the

  13· · · same number 42993.· That is part of the

  14· · · reason I am kind of asking the question.

  15· · · · · A.· · Where?· Could you show me please?

  16· · · · · Q.· · Sure.

  17· · · · · · · · It is actually in the next IP

  18· · · address down.

  19· · · · · A.· · The same owner.

  20· · · · · Q.· · Different IP though.

  21· · · · · A.· · Yes.· Maybe he asked question

  22· · · about to service which he have.· You see he

  23· · · was owned during this time two IP different

  24· · · ones and he has to work on --

  25· · · · · Q.· · So it doesn't describe a task, it


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  ·1· · · is actually the number on the ticket?

  ·2· · · · · A.· · Yes.

  ·3· · · · · Q.· · You see the RT ticket is 59, do

  ·4· · · you see that?

  ·5· · · · · A.· · Yes.

  ·6· · · · · Q.· · That is the number of RT tickets

  ·7· · · received, correct?

  ·8· · · · · A.· · Correct.

  ·9· · · · · Q.· · Then if you read on that same line

  10· · · so we are sticking with Tim, and move over

  11· · · to "comment" which is presumably a tor exit

  12· · · node (Babylon network).

  13· · · · · · · · Are you with me?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · What is a "tor exit node"?

  16· · · · · A.· · It is very popular service.· If

  17· · · you want to surf in internet anonymously.

  18· · · · · Q.· · I am going try to characterize

  19· · · what a tor exit node is and then you can

  20· · · correct me if I am wrong.

  21· · · · · · · · So tor exit node -- tor is an

  22· · · anonymous way to browse the internet,

  23· · · correct?

  24· · · · · A.· · Correct.

  25· · · · · Q.· · And one of the anonymizing aspects


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  ·1· · · of tor is that it moves the tor user from

  ·2· · · node to node to node to node so that their

  ·3· · · trail is difficult to trace, correct?

  ·4· · · · · A.· · Not always.· Usually it is just

  ·5· · · one node.

  ·6· · · · · Q.· · Okay.· But the exit node is

  ·7· · · different from the entrance node, correct?

  ·8· · · · · A.· · Not always.

  ·9· · · · · Q.· · What is an exit node specifically?

  10· · · · · A.· · Exit node -- any node is an exit

  11· · · node.· Because you can -- traffic can go

  12· · · out.· You can connect and your traffic can

  13· · · go out from there.· It is not means like if

  14· · · you have an internal it is only for incoming

  15· · · traffic.· Each --

  16· · · · · Q.· · What is "Babylon network"?

  17· · · · · A.· · Babylon network product which they

  18· · · give for free.

  19· · · · · Q.· · I don't understand.· Who is "they"

  20· · · that have a product --

  21· · · · · A.· · This guy, Tim, they have a product

  22· · · which is a tor product they give to people.

  23· · · · · Q.· · What is the product?

  24· · · · · A.· · To connect to tor network.

  25· · · · · Q.· · I don't understand.· So why do you


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  ·1· · · need a product, I don't quite understand

  ·2· · · what their product does.· What does Babylon

  ·3· · · network do?

  ·4· · · · · A.· · I don't have specific details

  ·5· · · about Babylon network what they are doing

  ·6· · · because it is not my product, it is not my

  ·7· · · business.· I am here to answer what the

  ·8· · · business of XBT, not here to answer about

  ·9· · · customers.

  10· · · · · Q.· · You are here to tell me what this

  11· · · document is so I am asking what you know

  12· · · about Babylon document.

  13· · · · · · · · The answer is you don't understand

  14· · · or you don't know that is the answer to the

  15· · · question but that is the answer to the

  16· · · question?

  17· · · · · A.· · The answer of this question, I

  18· · · don't know exactly what exactly Babylon

  19· · · network do.· It is not my company.

  20· · · · · Q.· · Okay.· But you are telling me that

  21· · · that is Tim's company?

  22· · · · · A.· · Yes.

  23· · · · · Q.· · Okay.

  24· · · · · A.· · I am telling you that this IP

  25· · · during this period of time was rented by


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  ·1· · · this guy.· I don't know if Babylon network

  ·2· · · belong to him.· It is not to my knowledge.

  ·3· · · · · Q.· · Babylon network was the business

  ·4· · · that was being run on that IP at that time?

  ·5· · · · · A.· · This is what we believe but we

  ·6· · · don't know.· We are not sure.

  ·7· · · · · Q.· · That is fine.· Okay.

  ·8· · · · · · · · If you look down at the next

  ·9· · · comments it says, "MSPP admin. Limited (info

  10· · · about company)" and then there is an URL and

  11· · · closed parentheses.· Are you with me?

  12· · · · · A.· · Yes.

  13· · · · · Q.· · Okay.· And is U.S. MSPP admin. the

  14· · · company that was affiliated with that IP

  15· · · address?

  16· · · · · A.· · Yes.

  17· · · · · Q.· · If you -- you can skip over Tim

  18· · · again and move on to -- I am going to really

  19· · · blow the pronunciation on this, forgive me,

  20· · · Dimex Optikvertrieb GmbH.

  21· · · · · · · · Do you see that?

  22· · · · · A.· · Yes.

  23· · · · · Q.· · That is the company that was using

  24· · · that IP address during these time periods,

  25· · · correct?


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  ·1· · · · · A.· · Right.· This what we find out.

  ·2· · · You have to understand this is not customer

  ·3· · · provide us.· This is what our investigation

  ·4· · · done and what we find out ourself.

  ·5· · · · · Q.· · I understand that.

  ·6· · · · · A.· · Okay.

  ·7· · · · · Q.· · All I can ask you is what XBT

  ·8· · · knows.

  ·9· · · · · · · · Then the next comment is

  10· · · "Reseller."· What is a reseller?

  11· · · · · A.· · A reseller is a customer who is

  12· · · buying product from us to sell it to other

  13· · · customers.

  14· · · · · Q.· · So, in other words, Vladmin rented

  15· · · your IP address at X dollars?

  16· · · · · A.· · Not IP address.

  17· · · · · Q.· · Sorry.· You are right.         I

  18· · · apologize, Mr. Gubarev.· I do listen to you

  19· · · I promise.

  20· · · · · · · · Rented a product that included

  21· · · this IP address from y'all and then resold

  22· · · it to a third-party, correct?

  23· · · · · A.· · Or used for himself.· I don't

  24· · · know.

  25· · · · · Q.· · It says "reseller"?


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  ·1· · · · · A.· · Yes.· But he can use it for

  ·2· · · himself as well.

  ·3· · · · · Q.· · Okay.· At the same time as the

  ·4· · · third-party?

  ·5· · · · · A.· · I don't know.

  ·6· · · · · Q.· · Is that possible?

  ·7· · · · · A.· · If you have virtual server and you

  ·8· · · have actually -- and I can use it for you

  ·9· · · but if you give access to somebody else only

  10· · · he can use it.

  11· · · · · Q.· · Okay.· But if he is a reseller if

  12· · · y'all wrote down -- if XBT wrote down he is

  13· · · a reseller doesn't that mean you think he is

  14· · · a reseller?

  15· · · · · A.· · No.· I know that he is a seller

  16· · · because this is how he register.· But at the

  17· · · same moment I don't know if he -- again,

  18· · · this is for somebody else or he used it for

  19· · · himself.

  20· · · · · Q.· · Okay.· So the point is XBT doesn't

  21· · · actually know whether he resold that IP

  22· · · address?

  23· · · · · A.· · No.· We don't know.

  24· · · · · Q.· · He could have done so?

  25· · · · · A.· · He can sell, of course.


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  ·1· · · · · Q.· · Yes, and you wouldn't know?

  ·2· · · · · A.· · I don't know.

  ·3· · · · · Q.· · There is no requirement that

  ·4· · · customers tell you whether they are

  ·5· · · reselling their products?

  ·6· · · · · A.· · No.

  ·7· · · · · Q.· · So if you go down two from that

  ·8· · · you will find the customer's name Joe

  ·9· · · Landers?

  10· · · · · A.· · Joe Landers?

  11· · · · · Q.· · Joe Landers.

  12· · · · · A.· · Yes.

  13· · · · · Q.· · Are you with me?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · Okay.· And it says that he has

  16· · · 32RT tickets, correct?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · And he is canceled because he

  19· · · hadn't paid, correct?

  20· · · · · A.· · Correct.

  21· · · · · Q.· · And he was presumably a tor exit

  22· · · node, correct?

  23· · · · · A.· · Correct .

  24· · · · · Q.· · Okay.· I want you to scroll down

  25· · · and you will see that there is -- I just


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  ·1· · · want to make sure I understand what all of

  ·2· · · the comments mean.

  ·3· · · · · · · · So there is a comment for adult

  ·4· · · models, presumably that XBT did some

  ·5· · · investigation and concluded that IP -- that

  ·6· · · customer was using the XBT package for some

  ·7· · · kind of business that related to adult

  ·8· · · models, is that right?

  ·9· · · · · A.· · This is what people find out.

  10· · · · · Q.· · That is what I just said so I am

  11· · · correct?

  12· · · · · A.· · Yes.

  13· · · · · Q.· · Okay.· Then the next comment down

  14· · · is about an IP address that belonged to

  15· · · someone called Marco Rondini.

  16· · · · · · · · Do you see that?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · It says it is canceled due to the

  19· · · complaint from "ITSMVIES/Web team."

  20· · · · · · · · Do you know what ITSMVIES/Web team

  21· · · is?

  22· · · · · A.· · I don't know.

  23· · · · · Q.· · Is that an internal XBT team?

  24· · · · · A.· · No.· It is external request and,

  25· · · canceled because we couldn't get request


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  ·1· · · from this company.

  ·2· · · · · Q.· · What is TS-WAYSRI?

  ·3· · · · · A.· · I don't know.· It is not my

  ·4· · · company.

  ·5· · · · · Q.· · Is it the name of a company?

  ·6· · · · · A.· · This what we find out.

  ·7· · · · · Q.· · Right.· You found out this was the

  ·8· · · name of his company?

  ·9· · · · · A.· · Potentially this is the name of

  10· · · the customer.· This is what we find out.

  11· · · · · · · · You have to understand, it is not

  12· · · customer who provide this information.· We

  13· · · try our best to find out what is possible

  14· · · but if it is 100 percent accurate I don't

  15· · · know but this is what we believe.

  16· · · · · Q.· · Mr. Gubarev, I will get to that.

  17· · · I am just trying to figure out what the

  18· · · words mean.

  19· · · · · · · · What I am saying is the words are

  20· · · this is the name of the company you think

  21· · · that this guy -- that your investigation led

  22· · · you to believe was using this package,

  23· · · correct?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · Okay.· Then I think I understand


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  ·1· · · all of the other words.

  ·2· · · · · · · · Do you know what secretsline.org

  ·3· · · is?

  ·4· · · · · A.· · Sorry?

  ·5· · · · · Q.· · Do you know what secretsline.org

  ·6· · · is?

  ·7· · · · · A.· · This is company who is selling VPN

  ·8· · · as a service.

  ·9· · · · · Q.· · Right.· Other than what you can

  10· · · read do you know anything about

  11· · · secretsline.org?

  12· · · · · A.· · No.· Nothing.

  13· · · · · Q.· · Did you know Vitaly Tikov?

  14· · · · · A.· · No.· Never meet him.

  15· · · · · Q.· · Does XBT know any of the people on

  16· · · this customer list?

  17· · · · · A.· · Did we meet them personally or

  18· · · what?· What do you mean by "know"?

  19· · · · · Q.· · Okay.· Let's start with "meet."

  20· · · · · A.· · I don't believe we meet anybody.

  21· · · · · Q.· · When XBT was doing the

  22· · · investigation that led to the creation of

  23· · · this sheet did anybody at XBT reach out to

  24· · · these people to talk to them?

  25· · · · · A.· · No.


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  ·1· · · · · Q.· · Or e-mail them?

  ·2· · · · · A.· · No.

  ·3· · · · · Q.· · When was this investigation done?

  ·4· · · · · A.· · It was approximately since August,

  ·5· · · September 2017.

  ·6· · · · · Q.· · August or September of 2017 you

  ·7· · · said?

  ·8· · · · · A.· · Yes.

  ·9· · · · · Q.· · So it was not done at the time

  10· · · that Mr. Goederich was contacted by the

  11· · · Luxembourg authorities.· It was done in the

  12· · · course of this litigation, correct?

  13· · · · · A.· · You know about that.· He already

  14· · · answered during the deposition.

  15· · · · · Q.· · Actually no, Mr. Gubarev, he

  16· · · didn't know anything about this document.

  17· · · That is why I am asking you these questions.

  18· · · · · · · · So this was not created at the

  19· · · time that Mr. Goederich was contacted by the

  20· · · Luxembourg police?

  21· · · · · A.· · No.· I am telling you now that

  22· · · this was not created.· I tell you exactly

  23· · · when this was created.

  24· · · · · Q.· · Okay.· So it was created as part

  25· · · of this litigation?


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  ·1· · · · · A.· · Yes.

  ·2· · · · · Q.· · What did y'all do with this

  ·3· · · document?

  ·4· · · · · A.· · What do you mean?

  ·5· · · · · Q.· · Once you gathered this information

  ·6· · · and put it in the document Mr. Bezruchenko

  ·7· · · reviewed it, what did you all do with it?

  ·8· · · · · A.· · First we sent to our lawyers to

  ·9· · · provide it to you and, second, we analyze

  10· · · all these activities which was done and we

  11· · · make a decision that we don't accept tor

  12· · · customers who provide the tor services

  13· · · anymore.

  14· · · · · Q.· · Why not?

  15· · · · · A.· · We believe it is risky.

  16· · · · · Q.· · Why is it risky?

  17· · · · · A.· · Because we cannot control this.

  18· · · · · Q.· · Why would it be important for you

  19· · · to control them?

  20· · · · · A.· · Well, this is just for us, we

  21· · · believe, this is risky business to continue

  22· · · keep in the company.· We make the decision

  23· · · don't accept this business anymore.

  24· · · · · Q.· · I am just trying to figure out why

  25· · · you think it is risky.· Why you think it is


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  ·1· · · risky.

  ·2· · · · · A.· · We don't know who is using these

  ·3· · · tor node.

  ·4· · · · · Q.· · Why is that risky?

  ·5· · · · · A.· · Anybody can use it for anything

  ·6· · · because it is publicly available.

  ·7· · · · · Q.· · Okay.· You made that decision

  ·8· · · after this spreadsheet was created?

  ·9· · · · · A.· · Yes.

  10· · · · · Q.· · What about -- so a couple of these

  11· · · are tor nodes but most of these are actually

  12· · · VPN services, right?

  13· · · · · A.· · Correct.

  14· · · · · Q.· · Okay.· Did y'all make the decision

  15· · · not to use VPN services anymore?

  16· · · · · A.· · No.

  17· · · · · Q.· · Why are they less risky to you as

  18· · · a business than tor nodes are?

  19· · · · · A.· · Because in VPN you can always

  20· · · identify who the customer.· I mean not us,

  21· · · if I rent a server to VPN company they can

  22· · · always identify who is the customer of them.

  23· · · · · Q.· · Okay.· If you look at the -- on

  24· · · the page there is a grouping of comments VPN

  25· · · as a service and there is secretsline.org.


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  ·1· · · Do you see those?· There is a group of

  ·2· · · those.

  ·3· · · · · A.· · Yes.

  ·4· · · · · Q.· · The very top line of that is a IP

  ·5· · · address 94.242.239.162.· Are you with me?

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · At the time this report was

  ·8· · · generated that customer was still a

  ·9· · · customer, correct?

  10· · · · · A.· · Yes.

  11· · · · · Q.· · Okay.· They had used in that time

  12· · · period 56,555 gigabytes.

  13· · · · · · · · Do you see that?

  14· · · · · · · · MR. GURVITS:· Objection.

  15· · · · · · · · THE WITNESS:· Is not correct.

  16· · BY MS. BOLGER:

  17· · · · · Q.· · Correct it.

  18· · · · · A.· · It is a package.

  19· · · · · Q.· · Ah, okay.· Their package was the

  20· · · 56,555 gigabyte package?

  21· · · · · A.· · Yes.· Which they used.

  22· · · · · Q.· · Is that a standard number 56,000,

  23· · · is that the highest amount in the package?

  24· · · · · A.· · I mean it can be any packages.· We

  25· · · have 100,000 gigabyte package.


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  ·1· · · · · Q.· · That makes sense to me,

  ·2· · · Mr. Gubarev.· I guess I like numbers.

  ·3· · · · · · · · It makes sense to me that you

  ·4· · · would have a package that is 100,000

  ·5· · · gigabytes.· It seems odd to have a package

  ·6· · · that is 56,555 gigabytes.· Do you understand

  ·7· · · it is an unusual number.· Is that in fact

  ·8· · · the full number?

  ·9· · · · · A.· · Could you give me calculator and I

  10· · · will explain how it is come.

  11· · · · · Q.· · I am sorry?

  12· · · · · A.· · Could you give me calculator. I

  13· · · will explain how it is come.

  14· · · · · Q.· · A calculator?· You don't have to

  15· · · give me a calculator.· You just have to tell

  16· · · me it is standard.· Is it the standard --

  17· · · · · A.· · I explain to you how it become

  18· · · standard.· Could you give me a calculator?

  19· · · · · Q.· · No, I don't have a calculator.

  20· · · So --

  21· · · · · · · · MR. GURVITS:· Just explain it.

  22· · BY MS. BOLGER:

  23· · · · · Q.· · ·Just -- I don't -- I just don't

  24· · · under -- if it is standard --

  25· · · · · · · · THE WITNESS:· Could somebody


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  ·1· · · · · please --

  ·2· · BY MS. BOLGER:

  ·3· · · · · Q.· · -- just tell me it is standard.

  ·4· · · · · · · · THE INTERPRETER:· Do you have a

  ·5· · · · · phone?

  ·6· · · · · · · · MS. BOLGER:· No.· No.· No.· We

  ·7· · · · · are not going to have calculators or a

  ·8· · · · · phone.

  ·9· · · · · · · · THE WITNESS:· No, no, I just

  10· · · · · explain you how its come.

  11· · BY MS. BOLGER:

  12· · · · · Q.· · I just want to know --

  13· · · · · · · · MR. GURVITS:· Just answer the

  14· · · · · question.· Is it standard or not?

  15· · BY MS. BOLGER:

  16· · · · · Q.· · I don't need to know how to do it.

  17· · · I just want to know if it is standard.

  18· · · · · A.· · Is a standard for this package.

  19· · · For him is a standard.

  20· · · · · Q.· · It is a personal -- you can -- so

  21· · · in other words your customer can say to you

  22· · · I need 56,555 gigabytes?

  23· · · · · A.· · Yes.· He can ask you --

  24· · · · · Q.· · That is all I want to know.

  25· · · · · · · · It is an odd number.· Really, you


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  ·1· · · are not going to give me that that is an odd

  ·2· · · number, 56,555 is an odd number?

  ·3· · · · · A.· · Odd, what --

  ·4· · · · · Q.· · Unusual.

  ·5· · · · · A.· · No.· I tell you give me calculator

  ·6· · · I explain.· You don't want to give me --

  ·7· · · · · Q.· · No, I don't.· It is a waste of

  ·8· · · your --

  ·9· · · · · · · · MR. GURVITS:· Just answer the

  10· · · · · question.

  11· · BY MS. BOLGER:

  12· · · · · Q.· · It is a waste of your time.

  13· · · · · · · · Okay.· And his traffic out is

  14· · · 53,896, correct?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · Among your customers, among XBT's

  17· · · customers is that a large gigabyte package,

  18· · · is that an expensive package for a customer

  19· · · or is that pretty standard?

  20· · · · · A.· · Pretty standard.· Actually it is

  21· · · low.

  22· · · · · Q.· · It is low?

  23· · · · · A.· · For example if you get 1,000

  24· · · gigabyte, 1,000-megabyte line to the server

  25· · · you can use 300,000 gigabytes per server.


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  ·1· · · · · Q.· · Sure.· I just want to know if most

  ·2· · · of your customers buy very big amounts of

  ·3· · · gigabytes or lower amounts of gigabytes.

  ·4· · · · · A.· · It is very different.· You cannot

  ·5· · · say this.

  ·6· · · · · Q.· · Okay.· So it is hard for you to

  ·7· · · put him on a continuum?

  ·8· · · · · A.· · Yes, but it doesn't look big.

  ·9· · · · · Q.· · "It doesn't look big."· Compared

  10· · · to your other customers?

  11· · · · · A.· · Yes.

  12· · · · · Q.· · Okay.· And then you will see it

  13· · · had 470 RT tickets, correct?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · It hasn't been canceled, right?

  16· · · · · A.· · No.

  17· · · · · Q.· · Why not if you have 470 abuse

  18· · · alerts?

  19· · · · · A.· · Very simple.· If you are a company

  20· · · who provide VPN services and your customer

  21· · · did something wrong it doesn't mean that you

  22· · · as a company did something wrong.· You get

  23· · · the abuse.· You forward it to the company.

  24· · · They block the user.· It is very standard

  25· · · for us to do for any VPN services.


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  ·1· · · · · · · · Microsoft does the same.· Google

  ·2· · · does the same.· Amazon does the same.· You

  ·3· · · ask me something which is standard in the

  ·4· · · industry.

  ·5· · · · · Q.· · Says you.

  ·6· · · · · A.· · Is standard in the hosting

  ·7· · · industry.

  ·8· · · · · Q.· · 470 is a lot of abuse alerts.

  ·9· · · · · A.· · If you check Google they have

  10· · · millions.

  11· · · · · Q.· · All of Google servers of course

  12· · · have millions, correct, I understand that.

  13· · · · · A.· · VPN service.

  14· · · · · Q.· · This is one guy who only uses

  15· · · 56,555 gigabytes in and 53,896 gigabytes out

  16· · · and he got 470 abuse alerts.

  17· · · · · · · · MR. GURVITS:· Objection.

  18· · BY MS. BOLGER:

  19· · · · · Q.· · Right?· It is a lot.

  20· · · · · A.· · No.· You want I explain you?

  21· · · · · Q.· · No.· I just want to know if you

  22· · · think it is a lot.

  23· · · · · A.· · No.

  24· · · · · Q.· · Nothing about that when you guys

  25· · · looked at this and created the report you


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  ·1· · · didn't think, huh, that is a lot of abuse

  ·2· · · alerts?

  ·3· · · · · A.· · It is thousands of clients after

  ·4· · · this customer.· When you entered the server

  ·5· · · and put VPN usually you have 1,500 to 2,000

  ·6· · · customers connected to the server.· This

  ·7· · · mean he have around 10,000 customers which

  ·8· · · use his service.· During this eight years

  ·9· · · continuously.

  10· · · · · Q.· · It is not eight years.· It was

  11· · · four.· When we began this discussion it was

  12· · · four.

  13· · · · · A.· · Yes, I mean but he is still

  14· · · continuing, I spoke -- he is still

  15· · · customer --

  16· · · · · Q.· · Well, no.· This document was

  17· · · created a year ago.· You don't know anything

  18· · · about what is happening now.

  19· · · · · A.· · Okay.· He was customer for four

  20· · · years.· He have 10,000 customers

  21· · · approximately.

  22· · · · · Q.· · How do you know?

  23· · · · · A.· · Well, it is typical for VPN

  24· · · service.· Because when you are doing VPN

  25· · · service for your mobile you use very limited


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  ·1· · · amount of fabric.

  ·2· · · · · Q.· · How do you know Vitaly Tikov had

  ·3· · · tens of thousands of customers in the last

  ·4· · · four years?

  ·5· · · · · · · · MR. GURVITS:· Objection.

  ·6· · · · · · · · THE WITNESS:· This is my

  ·7· · · · · personal belief.

  ·8· · BY MS. BOLGER:

  ·9· · · · · Q.· · Based on what?

  10· · · · · A.· · Based on my experience about VPN.

  11· · · · · Q.· · What is your experience with

  12· · · Mr. Tikov?

  13· · · · · A.· · Not Mr. Tikov.· Mr. --

  14· · · · · Q.· · I am asking about Mr. Tikov.· So

  15· · · how many customers does Mr. Tikov have?

  16· · · · · A.· · I don't know exactly.

  17· · · · · Q.· · Right.· Have you met him?

  18· · · · · A.· · No.

  19· · · · · Q.· · Have you ever talked to him?

  20· · · · · A.· · No.

  21· · · · · Q.· · Have you ever e-mailed him?

  22· · · · · A.· · No.

  23· · · · · Q.· · Okay.· And by "you" I mean XBT.

  24· · · · · A.· · XBT 100 percent e-mail team.

  25· · · · · Q.· · How do you know?


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  ·1· · · · · A.· · Well, because he is answering,

  ·2· · · call up these tickets is standard form or

  ·3· · · maybe tickets -- any other managed tickets

  ·4· · · he requires them.

  ·5· · · · · Q.· · How do you know?

  ·6· · · · · A.· · Because this is the system, right.

  ·7· · · · · Q.· · But where does it say that?

  ·8· · · · · A.· · What do you mean?

  ·9· · · · · Q.· · Where does -- how -- what --

  10· · · looking at this document how do I know you

  11· · · ever had -- "you" XBT ever had contact from

  12· · · Mr. Tikov from Mr. Tikov?

  13· · · · · A.· · This ticket means that he was

  14· · · 100 percent was contacted by us and

  15· · · anything -- and also if you see here he have

  16· · · managed ticket as well.

  17· · · · · Q.· · That means he contacted you to ask

  18· · · for infrastructure.· I understand that.

  19· · · · · · · · But I am asking you how you know

  20· · · that XBT reached out to him about the abuse

  21· · · alerts?

  22· · · · · A.· · Is a standard policy of the

  23· · · company for the abuse e-mails to the

  24· · · customers.

  25· · · · · Q.· · I understand, that the standard


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  ·1· · · policy is to forward an abuse alert from the

  ·2· · · customer.

  ·3· · · · · A.· · And you forward it.

  ·4· · · · · Q.· · And you forward him.

  ·5· · · · · A.· · Yes.

  ·6· · · · · Q.· · I understand.· How do you know he

  ·7· · · responded?

  ·8· · · · · A.· · He responded.

  ·9· · · · · Q.· · How do you know?

  10· · · · · A.· · He is in the system, you can see

  11· · · everything.

  12· · · · · Q.· · Have you personally preparing for

  13· · · today looked to see if he responded to all

  14· · · 470 abuse alerts?

  15· · · · · A.· · No.

  16· · · · · Q.· · So you don't know if he responded

  17· · · to all 470?

  18· · · · · A.· · Is standard policy with the

  19· · · company to forward each abuse alert and to

  20· · · make sure it gets answered.

  21· · · · · Q.· · Okay.· Do you know he answered

  22· · · those?

  23· · · · · A.· · I don't look -- I didn't look at

  24· · · the 470 tickets.

  25· · · · · Q.· · Do you know what they were?


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  ·1· · · · · A.· · Hmm?

  ·2· · · · · Q.· · What the abuses were?

  ·3· · · · · A.· · No.

  ·4· · · · · Q.· · When Mr. -- when Ksenia,

  ·5· · · Mr. Bezruchenko and Mr. Goederich were

  ·6· · · putting this together do you know if they

  ·7· · · checked with those abuse alerts?

  ·8· · · · · A.· · Of course.· Ksenia 100 percent

  ·9· · · check each ticket.

  10· · · · · Q.· · Did you ever have a conversation

  11· · · with Ksenia about this document?

  12· · · · · A.· · I spoke with Konstantine

  13· · · Bezruchenko.· He explained this document.

  14· · · · · Q.· · So Mr. Bezruchenko didn't remember

  15· · · this document when I deposed Mr.

  16· · · Bezruchenko.

  17· · · · · · · · What was your conversation with

  18· · · Mr. Bezruchenko about this document?

  19· · · · · A.· · I sit with him before I come to

  20· · · here for the deposition.· I sit here, I sit

  21· · · with him before I come to the deposition.

  22· · · We opened this document and asked him what

  23· · · do you need to do to create this document.

  24· · · · · Q.· · What do you need to do.· What did

  25· · · he say?


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  ·1· · · · · A.· · Eh?

  ·2· · · · · Q.· · What did he say?

  ·3· · · · · A.· · He say like we have two panels, or

  ·4· · · three panels like in total, like one is --

  ·5· · · all tickets were created.

  ·6· · · · · Q.· · Okay.

  ·7· · · · · A.· · Second is the managed panel where

  ·8· · · you can find customers and said panel is the

  ·9· · · IP history panel where you can check which

  10· · · IP belongs to each client given the reach

  11· · · field of the time.· This was enough to

  12· · · create this document.· I personally opened

  13· · · this panel.· I see them.· I make a test on

  14· · · one of the customer and I see how to find

  15· · · out this information.

  16· · · · · Q.· · Okay.· What else did

  17· · · Mr. Bezruchenko tell you about this

  18· · · document?

  19· · · · · A.· · Nothing.

  20· · · · · Q.· · In the conversation you had with

  21· · · Mr. Bezruchenko before you came to this

  22· · · deposition what did -- else did you talk

  23· · · about about this document?

  24· · · · · A.· · He request was about how -- I mean

  25· · · in deposition how this document was created


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  ·1· · · and I do know how to create it.

  ·2· · · · · Q.· · ·Mr. Gubarev, you are being

  ·3· · · defensive.· You don't need to be defensive.

  ·4· · · I just want to know what you talked about

  ·5· · · Mr. Bezruchenko about.

  ·6· · · · · A.· · How to create the document.

  ·7· · · · · Q.· · That is it?

  ·8· · · · · A.· · Yes.

  ·9· · · · · Q.· · When y'all saw this document did

  10· · · you have a reaction to it?

  11· · · · · · · · MR. GURVITS:· Objection.

  12· · BY MS. BOLGER:

  13· · · · · Q.· · When it was created in August or

  14· · · September of 2017.

  15· · · · · A.· · What do you mean by action?

  16· · · · · Q.· · I mean a reaction.· When XBT

  17· · · created this document in 2017 did y'all have

  18· · · a reaction to the information contained in

  19· · · the document?

  20· · · · · A.· · Only one which I told you before.

  21· · · We decided don't accept tor clients -- don't

  22· · · accept clients who provide tor services.

  23· · · · · Q.· · What did you do to make sure you

  24· · · no longer accept clients who provide tor

  25· · · services?


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  ·1· · · · · A.· · Two ways, one, we make a check of

  ·2· · · the network.· If it is any IP of our network

  ·3· · · used in the tor services we wire the

  ·4· · · cancellation notice to all customers, stop

  ·5· · · using our network and we do check up from

  ·6· · · one -- from time to time of the tor network

  ·7· · · because it is publicly available information

  ·8· · · which IP is there.

  ·9· · · · · Q.· · How often do you check?

  10· · · · · A.· · I think we check every week.

  11· · · · · Q.· · Who does that check?

  12· · · · · A.· · Is automatically.

  13· · · · · Q.· · Have you canceled customers

  14· · · because they are tor exit nodes?

  15· · · · · A.· · Yes.· But it was very limited

  16· · · amount of the customers.

  17· · · · · Q.· · As the months have gone on since

  18· · · September of 2017 have you continued to

  19· · · cancel customers because they were tor

  20· · · nodes?

  21· · · · · A.· · As I told you it is so small, like

  22· · · I want to say provide very cheap services,

  23· · · the typical customer of Root is below 100

  24· · · euro.

  25· · · · · · · · And like even if you cancel ten


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  ·1· · · services it is about 690 euros a month of

  ·2· · · the losses.

  ·3· · · · · Q.· · Even if you canceled ten services

  ·4· · · around 690 euros a month?

  ·5· · · · · A.· · Yes, it is not like -- it is not

  ·6· · · the big numbers.

  ·7· · · · · Q.· · But you are talking about the

  ·8· · · cash.· I am talking about the number of

  ·9· · · people so have you cancel -- I am just

  10· · · wondering if you canceled people --

  11· · · · · A.· · Yes.

  12· · · · · Q.· · -- since September 2017 because

  13· · · they were tor nodes?

  14· · · · · A.· · If we find out we ask them to

  15· · · leave.

  16· · · · · Q.· · Right.· Have you found out and

  17· · · asked them to leave?

  18· · · · · A.· · Yes.· If we find out we have a

  19· · · policy now in abuse team if they use our

  20· · · service for providing tor services we ask

  21· · · them to leave and if we found we ask them to

  22· · · cancel.

  23· · · · · Q.· · Mr. Gubarev, I get that.· I am

  24· · · asking you if you have ever actually done

  25· · · it?


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  ·1· · · · · A.· · Of course.

  ·2· · · · · Q.· · Okay.· How often do you do it?

  ·3· · · · · A.· · I don't know this.

  ·4· · · · · Q.· · Once a month, once every two

  ·5· · · months?

  ·6· · · · · A.· · As soon as we find out.

  ·7· · · · · Q.· · Right.· Has that happened once a

  ·8· · · month, more than once a month, less than

  ·9· · · once a month?

  10· · · · · A.· · I tell you again, as soon as we

  11· · · find out I -- how I can answer a question

  12· · · which I don't have any answer.

  13· · · · · Q.· · The answer could be I don't know.

  14· · · That would be a valid answer to that

  15· · · question.

  16· · · · · · · · My question was how often do you

  17· · · do it.· That is not a hypothetical.· That is

  18· · · a question.

  19· · · · · A.· · As soon as we find out.

  20· · · · · Q.· · That is a hypothetical answer.          I

  21· · · am asking you to answer the question I am

  22· · · asking you.

  23· · · · · · · · How often do you do it?· If the

  24· · · answer is I don't know that is fine.· I will

  25· · · move on.


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  ·1· · · · · A.· · I don't know.

  ·2· · · · · Q.· · Okay.· Other than this review of

  ·3· · · these IP addresses done for this litigation

  ·4· · · did you all do any investigation after the

  ·5· · · publication of the Grizzly Steppe reports?

  ·6· · · · · A.· · We make this investigation and we

  ·7· · · check all other IP which was in this report

  ·8· · · to find out if any of -- we check -- in this

  ·9· · · investigation we check all IP which was in

  10· · · this report and to make sure that it is not

  11· · · our IP included.· If it was included we make

  12· · · an investigation to find out what happened

  13· · · But as -- if they are legitimate customers.

  14· · · · · Q.· · Okay.

  15· · · · · A.· · For some of them it is nothing to

  16· · · worry.

  17· · · · · Q.· · Were there people on this list

  18· · · that you think -- you just said for some of

  19· · · them there was nothing to worry about.· Were

  20· · · there people on this list who you thought

  21· · · there were things to worry about?

  22· · · · · A.· · It was not worry about.· Like as I

  23· · · told you like tor service -- I mean even the

  24· · · people who provide the tor service they

  25· · · cannot 100 percent tell who is their


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  ·1· · · customer.· That is the reason why we decided

  ·2· · · to not accept these type of customers.

  ·3· · · · · Q.· · There was not -- nobody else on

  ·4· · · this list who was of concern to you then?

  ·5· · · · · A.· · Well, it was normal -- right, it

  ·6· · · was normal customers.· I mean like you can

  ·7· · · go to any other hosting company, like you

  ·8· · · can go today to Google and buy a tor

  ·9· · · service.

  10· · · · · Q.· · Right.· Mr. Gubarev, I am not

  11· · · asking that.· I am asking you a very

  12· · · specific question.

  13· · · · · · · · Were there other customers other

  14· · · than the tor exit nodes on this list that

  15· · · made you all concerned?

  16· · · · · A.· · No.

  17· · · · · Q.· · Also why is something presumably a

  18· · · tor exit node if as you say you can look it

  19· · · up.· Why presumably.· Why is it presumed,

  20· · · why isn't it known?

  21· · · · · A.· · Well, you don't know 100 percent

  22· · · as I told you.· Right.· It is our belief

  23· · · that when we find out.

  24· · · · · Q.· · Yes, I understand you told me that

  25· · · about a lot of the other companies and


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  ·1· · · things like that.· And like two minutes ago

  ·2· · · you told me you can look up whether a

  ·3· · · network is -- whether or not an IP address

  ·4· · · is being used on the tor network, right?

  ·5· · · · · A.· · Yes, correct.

  ·6· · · · · Q.· · So I don't understand why it is

  ·7· · · presumably a tor exit node.· Presumably

  ·8· · · seems to suggest that there is some doubt as

  ·9· · · to whether it is a tor exit node.

  10· · · · · A.· · It can be active and passive

  11· · · network.· This can be like the IP is listed

  12· · · but you cannot connect to you.· It is still

  13· · · part of the exit tor node but you cannot

  14· · · actually use it.

  15· · · · · Q.· · Okay.· So that has to do with that

  16· · · aspect of it.· It is not that it wasn't on

  17· · · the publicly available list of IP addresses

  18· · · used on the tor network?

  19· · · · · A.· · Yes.

  20· · · · · · · · MS. BOLGER:· I am going to just

  21· · · · · take a two-minute break to get myself

  22· · · · · some more coffee.· We can put this one

  23· · · · · aside.

  24· · · · · · · · THE VIDEOGRAPHER:· Going off the

  25· · · · · record at 10:40 a.m.


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  ·1· · · · · · · · (Recess)

  ·2· · · · · · · · THE VIDEOGRAPHER:· This marks

  ·3· · · · · the start of media number 2.

  ·4· · · · · · · · We are back on the record at

  ·5· · · · · 10:48 a.m.

  ·6· · BY MS. BOLGER:

  ·7· · · · · Q.· · Mr. Gubarev, we have been

  ·8· · · listening to y'all and so -- when you talk

  ·9· · · about your business and so I am going to ask

  10· · · the next few questions very specifically

  11· · · meaning -- using words that I mean to use so

  12· · · just answer them yes or no because it will

  13· · · be helpful.

  14· · · · · · · · Does XBT own a data center in

  15· · · Russia?

  16· · · · · A.· · No.

  17· · · · · Q.· · Does XBT lease a data center in

  18· · · Russia?

  19· · · · · A.· · Yes.

  20· · · · · Q.· · Does XBT lease the whole data

  21· · · center or a point of presence?

  22· · · · · A.· · Point of presence.

  23· · · · · Q.· · What is the difference?

  24· · · · · A.· · If you rent the whole data center

  25· · · you are only one customer there.


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  ·1· · · · · · · · If you rent the point of presence

  ·2· · · it can be any other customer within data

  ·3· · · center all within the same room.

  ·4· · · · · · · · Data center has many rooms.

  ·5· · · · · Q.· · Right.· How big is the -- how many

  ·6· · · points of presence does XBT own in data

  ·7· · · centers in Russia?

  ·8· · · · · A.· · Don't own.

  ·9· · · · · Q.· · I am sorry.· Mr. Gubarev, I really

  10· · · am trying.

  11· · · · · · · · How many points of presence does

  12· · · XBT lease in data centers in Russia?

  13· · · · · A.· · Four.

  14· · · · · Q.· · Are those four points of presence

  15· · · in four different data centers?

  16· · · · · A.· · Correct.

  17· · · · · Q.· · Where is the first point of

  18· · · presence?

  19· · · · · A.· · M9 Data Center.

  20· · · · · Q.· · "M9 Data Center."· Okay.· Where is

  21· · · the M9 Data Center?

  22· · · · · A.· · You mean exact address?· I don't

  23· · · know.

  24· · · · · Q.· · I don't need -- I don't need the

  25· · · exact address but --


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  ·1· · · · · A.· · Moscow.

  ·2· · · · · Q.· · "Moscow." That's fine.· Thank you.

  ·3· · · · · A.· · All of them in Moscow.

  ·4· · · · · Q.· · They are all in Moscow.· Okay.

  ·5· · · · · A.· · Yes.

  ·6· · · · · Q.· · Is the M9 Data Center in Moscow a

  ·7· · · private facility or is it -- what kind of

  ·8· · · facility is the data center?

  ·9· · · · · A.· · M9 Data Center, we have only one

  10· · · rack for communication services.

  11· · · · · Q.· · Okay.· You have one rack for

  12· · · communication services at the M9 Data

  13· · · Center?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · Is the M9 Data Center on a regular

  16· · · public street or is it somewhere also?

  17· · · · · A.· · It is a private company.

  18· · · · · Q.· · M9 Data Center is a private

  19· · · company?

  20· · · · · A.· · Yes.

  21· · · · · Q.· · What is the name of the company?

  22· · · · · A.· · M9 Data Center.

  23· · · · · Q.· · What is the company that owns M9

  24· · · Data Center?

  25· · · · · A.· · M9 Data Center.


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  ·1· · · · · Q.· · Okay, I thought M9 was the name of

  ·2· · · the data center?

  ·3· · · · · A.· · Yes.· But usually it is the same

  ·4· · · like MA.

  ·5· · · · · Q.· · Okay.· When Mr. Dvas testified he

  ·6· · · mentioned that there was a company called

  ·7· · · Data Pro that owned the data centers.

  ·8· · · · · · · · Do you -- are you familiar with

  ·9· · · the name Data Pro?

  10· · · · · A.· · Yes.· Another point --

  11· · · · · Q.· · It is a different point of

  12· · · presence?

  13· · · · · A.· · Yes.

  14· · · · · Q.· · Okay.· So at the M9 Data Center in

  15· · · Moscow you have one rack which you use for

  16· · · communications?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · That one rack that you use for

  19· · · communications, do you also have a staff

  20· · · member or an XBT employee at the M9 Data

  21· · · Center?

  22· · · · · A.· · Permanent?

  23· · · · · Q.· · It doesn't have to be a permanent

  24· · · employee but someone who works -- is there

  25· · · someone for XBT who works for XBT who works


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  ·1· · · at the M9 Data Center?

  ·2· · · · · A.· · No.

  ·3· · · · · Q.· · Is there someone who gains access

  ·4· · · to that data center to check them?

  ·5· · · · · A.· · Of course.

  ·6· · · · · Q.· · Okay.· And how many XBT employees

  ·7· · · have access to the M9 data center?

  ·8· · · · · A.· · Well, actually any of them can get

  ·9· · · access if they get a request for that.          I

  10· · · think we have three permanent cart for

  11· · · access and actually any employee of the XBT

  12· · · group you make a request and you get access.

  13· · · · · Q.· · Okay.· Do they get their own

  14· · · access card or they just use one of your

  15· · · three access cards?

  16· · · · · A.· · Usually they get on arrival access

  17· · · card which they have to return after they

  18· · · leaving the data center.

  19· · · · · Q.· · Okay.· When did you first lease a

  20· · · point of presence at the M9 Data Center in

  21· · · Moscow?

  22· · · · · A.· · I don't really -- in August 2015 I

  23· · · bought the company in Russia which was

  24· · · already have this point of presence.

  25· · · · · Q.· · Okay.· And is that Edinaya Set?


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  ·1· · · · · A.· · Yes.

  ·2· · · · · Q.· · You said you had four.· That is

  ·3· · · one.

  ·4· · · · · A.· · You want I just tell you all of

  ·5· · · them?

  ·6· · · · · Q.· · Let's go one by one so I can ask

  ·7· · · lots of annoying questions about each one in

  ·8· · · turn.

  ·9· · · · · · · · So what is the second data center

  10· · · in Moscow?

  11· · · · · A.· · Safe Data.

  12· · · · · Q.· · Safe Data?

  13· · · · · A.· · Yes.

  14· · · · · Q.· · Where is Safe Data located?

  15· · · · · A.· · In Moscow.

  16· · · · · Q.· · Where in Moscow?

  17· · · · · A.· · Safe Data have two data centers.

  18· · · The one which is located where we have a

  19· · · rack is next to Kurchatov Street.· I don't

  20· · · know exact --

  21· · · · · Q.· · You don't know the address?

  22· · · · · A.· · I don't know exact address, if you

  23· · · want we can provide you.

  24· · · · · Q.· · Okay.· Is -- how many racks do you

  25· · · have at Safe Data?


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  ·1· · · · · A.· · Now, one.

  ·2· · · · · Q.· · Did you used to have more?

  ·3· · · · · A.· · Yes.· But we migrate them to Data

  ·4· · · Pro.

  ·5· · · · · Q.· · Safe Data is the company that owns

  ·6· · · that?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · Okay.· And how many -- do you have

  ·9· · · any employees at that location?

  10· · · · · A.· · No.

  11· · · · · Q.· · How many servers are on one rack?

  12· · · · · A.· · Depends how four full servers and

  13· · · it depends how four fulls the rack.· It can

  14· · · be one server and it can be 40.

  15· · · · · Q.· · Can you tell me how many customers

  16· · · use the rack for example at Safe Data

  17· · · Center?

  18· · · · · A.· · One customer.

  19· · · · · Q.· · One customer?

  20· · · · · A.· · Yes.· But we are moving this as

  21· · · well now.· I mean --

  22· · · · · Q.· · Is it one customer which is a lot

  23· · · of business for you?

  24· · · · · A.· · Well, depends what you rent.          I

  25· · · give you some --


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  ·1· · · · · Q.· · No, I mean this specific -- I want

  ·2· · · to talk about this specific data center.

  ·3· · · What is the name of the customer?

  ·4· · · · · A.· · I don't know.

  ·5· · · · · Q.· · Okay.· You know there is only one

  ·6· · · customer?

  ·7· · · · · A.· · This I remember it was one

  ·8· · · customer.· Somebody told me about that.

  ·9· · · · · Q.· · What did they tell you about it?

  10· · · · · A.· · Just told me there is one customer

  11· · · which we need to move.

  12· · · · · Q.· · Okay.· When did you open the point

  13· · · of presence at Safe Data, was that also

  14· · · purchased with Edinaya Set?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · Were all of your points of

  17· · · presence in Russia acquired through the

  18· · · acquisition of Edinaya?

  19· · · · · A.· · No.

  20· · · · · Q.· · Let's talk about your third -- by

  21· · · the way how long is your lease at M9?· How

  22· · · long does one -- how long did you lease that

  23· · · point of presence at the M9 Data Center?

  24· · · · · A.· · We started before me.· I don't

  25· · · know the date.


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  ·1· · · · · Q.· · How much longer on the lease?

  ·2· · · · · A.· · I think -- I don't know details of

  ·3· · · that.

  ·4· · · · · Q.· · Do they go month to month, year to

  ·5· · · year, is it a term of years.· It is your

  ·6· · · business to lease servers and servers space.

  ·7· · · I wonder how long is the standard agreement?

  ·8· · · · · A.· · Standard agreements is depends on

  ·9· · · the contract and company.· Usually you --

  10· · · for example for one year, three years and

  11· · · after that it goes month to months.

  12· · · · · Q.· · Like an apartment in New York

  13· · · City?

  14· · · · · A.· · This I don't know.· This is my

  15· · · first time in New York.

  16· · · · · Q.· · It was a joke.

  17· · · · · · · · Do you know the leases of the

  18· · · point of presence at the M9 Data Center

  19· · · year-long agreements or are they now month

  20· · · to month?

  21· · · · · A.· · I don't know the details.

  22· · · · · Q.· · How about Safe Data?

  23· · · · · A.· · Safe Data is month to month.

  24· · · · · Q.· · Okay.· You are planning to close

  25· · · the point of presence at Safe Data that has


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  ·1· · · the one customer, correct?

  ·2· · · · · A.· · Yes.

  ·3· · · · · Q.· · Let's talk about the third point

  ·4· · · of presence.· Where is that?

  ·5· · · · · A.· · Is in Kurchatov.· I don't know how

  ·6· · · to explain this.· Data center is next to

  ·7· · · Safe Data actually, is just 500 meters from

  ·8· · · there.· Maybe 700 maximum.

  ·9· · · · · Q.· · Okay.· What is the name of that

  10· · · point of presence?

  11· · · · · A.· · Internally we know Kurchatov

  12· · · Street data center.

  13· · · · · Q.· · What is its official name?

  14· · · · · A.· · The name of the company, I don't

  15· · · remember the name of the company which

  16· · · was -- if you want I can provide it.· It is

  17· · · not -- I -- it is easy to get the

  18· · · information.

  19· · · · · Q.· · I would like that information,

  20· · · that was one of the questions bringing you

  21· · · here today.

  22· · · · · A.· · No problem.

  23· · · · · Q.· · Okay.· How much -- how big is the

  24· · · point of presence, I think I am saying this

  25· · · wrong, Kurchatov?


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  ·1· · · · · A.· · Kurchatov Data Center.

  ·2· · · · · Q.· · How big is that point of presence?

  ·3· · · · · A.· · Over hundred racks.

  ·4· · · · · Q.· · Over 100 racks.· Is that a whole

  ·5· · · room in the data center?

  ·6· · · · · A.· · No.· But I think it is one-third

  ·7· · · of the room.

  ·8· · · · · Q.· · How many customers there?

  ·9· · · · · A.· · Hundreds.

  10· · · · · Q.· · Did you say "hundreds"?

  11· · · · · A.· · Yes.

  12· · · · · Q.· · Okay.· How long have you had that

  13· · · point of presence?

  14· · · · · A.· · Before -- we bought the company

  15· · · that already had this.

  16· · · · · Q.· · Is it part of the Edinaya Set

  17· · · acquisition?

  18· · · · · A.· · Yes.

  19· · · · · Q.· · Is there -- because there is a lot

  20· · · of racks there is there a staff member

  21· · · there?

  22· · · · · A.· · Yes.· Six.

  23· · · · · Q.· · Six staff members?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · Didn't hear you.


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  ·1· · · · · · · · Who is there?

  ·2· · · · · A.· · Technical people who is doing

  ·3· · · maintenance of the servers.

  ·4· · · · · Q.· · And that they are all Muscovites?

  ·5· · · · · A.· · Is in Moscow.

  ·6· · · · · Q.· · Right.· And they are all local

  ·7· · · people?

  ·8· · · · · A.· · Of course.

  ·9· · · · · Q.· · They are not Cypriots, for

  10· · · example, or people from Texas, they are all

  11· · · people from Moscow?

  12· · · · · A.· · Yes.

  13· · · · · Q.· · Okay.· And do you -- is there an

  14· · · office there that they work in?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · And it is just the six of them

  17· · · that work there?

  18· · · · · A.· · Yes.· On the shift -- on the shift

  19· · · you work usually one person at night and two

  20· · · person during the daytime and they just

  21· · · rotate.

  22· · · · · Q.· · Okay.· And you said you got that

  23· · · in 2015.· How long is that lease?

  24· · · · · A.· · Well, it is the one contract we --

  25· · · one of -- like, first of all, a contract but


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  ·1· · · we are one of the biggest customer of this

  ·2· · · data center and I think we have some racks

  ·3· · · yearly contracts, some racks is

  ·4· · · month-to-month.· I don't know exact details

  ·5· · · how many racks but this is.

  ·6· · · · · Q.· · Do you know who the other clients

  ·7· · · of that data center are?

  ·8· · · · · A.· · No.· It was private information.

  ·9· · · · · Q.· · Okay.· You said you were one of

  10· · · the bigger.· How do you know you are one of

  11· · · the bigger clients?

  12· · · · · A.· · Because I know what the

  13· · · approximately capacity of the data center

  14· · · and this -- I can't count how much I

  15· · · occupied.

  16· · · · · Q.· · What is the name of your contact

  17· · · at the Kurchatov Data Center, who is the

  18· · · person at that the company that you talk to?

  19· · · · · A.· · This I don't know.· Because I am

  20· · · not managing Moscow office.· And -- but --

  21· · · · · Q.· · Who does manage your Moscow

  22· · · office?

  23· · · · · A.· · We have local CEO.

  24· · · · · Q.· · Who is that?

  25· · · · · A.· · Sergey Krysenko.


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  ·1· · · · · Q.· · Okay.· How long has Sergey

  ·2· · · Krysenko worked for you?

  ·3· · · · · A.· · When I bought Edinaya Set.· He

  ·4· · · already work there.

  ·5· · · · · Q.· · E-D-I-N-A-Y-A.

  ·6· · · · · · · · He was the CEO of Edinaya Set?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · Is that right, it is pronounced

  ·9· · · Edinaya?

  10· · · · · A.· · Yedinaya.

  11· · · · · Q.· · "Yedinaya."· Okay, so I just add

  12· · · the "Y" to the beginning.· Yedinaya.

  13· · · · · · · · Okay.· Then there is a fourth

  14· · · point of presence in Moscow?

  15· · · · · A.· · Right.

  16· · · · · Q.· · What is that fourth point of

  17· · · presence?

  18· · · · · A.· · Data Pro.

  19· · · · · Q.· · "Data Pro."· Okay.· And Data

  20· · · Pro --

  21· · · · · A.· · We open ourself when we acquired

  22· · · Yedinaya Set.

  23· · · · · Q.· · Okay.· You opened it yourself

  24· · · after the acquisition of Yedinaya Set?

  25· · · · · A.· · Yes.


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  ·1· · · · · Q.· · When did you open Data Pro?

  ·2· · · · · A.· · It was end of 2016 and official

  ·3· · · launch January the 4th of -- I will start

  ·4· · · again.

  ·5· · · · · · · · End of 2015 and official launch

  ·6· · · January of 2016.

  ·7· · · · · Q.· · Okay.· Where is the Data Pro Data

  ·8· · · Center?

  ·9· · · · · A.· · This I think, Aviamorornaya '69.

  10· · · · · Q.· · We can spell off the record.

  11· · · · · · · · Is that a street address?

  12· · · · · A.· · Yes.· Aviamorornaya.

  13· · · · · Q.· · Okay.· And that is in Moscow?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · Okay.· And how much -- how many

  16· · · racks do you have at Data Pro?

  17· · · · · A.· · 74 at this moment.

  18· · · · · Q.· · Is that more or less than you used

  19· · · to have?

  20· · · · · A.· · Sorry?

  21· · · · · Q.· · Is that more or less that you had

  22· · · when you opened or the same?

  23· · · · · A.· · When I opened it was -- we opened

  24· · · with 20.

  25· · · · · Q.· · So there is more?


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  ·1· · · · · A.· · Now is 74.

  ·2· · · · · Q.· · Okay.· Do you have staff at Data

  ·3· · · Pro?

  ·4· · · · · A.· · Yes.· Six people.

  ·5· · · · · Q.· · Six people at Data Pro.· Same

  ·6· · · idea, three?

  ·7· · · · · A.· · No.· Two is daytime and one is at

  ·8· · · nighttime.

  ·9· · · · · Q.· · And they rotate shifts?

  10· · · · · A.· · Yes.

  11· · · · · Q.· · Who is the -- is there a manager

  12· · · of that team, a head of that team?

  13· · · · · A.· · Sergey Krysenko, he manages -- he

  14· · · is the technical -- and also CEO.

  15· · · · · Q.· · Okay.· Mr. Krysenko, does he work

  16· · · in either of the -- either at Kurchaya or

  17· · · Data Pro?

  18· · · · · A.· · He is going there regularly.

  19· · · · · Q.· · Right.· Is that where his main

  20· · · office is?

  21· · · · · A.· · No.· We have another office where

  22· · · the accountant, sales, some support people,

  23· · · I mean like managers of the clients.

  24· · · · · Q.· · When Mr. Bezruchenko testified he

  25· · · testified that one of the data centers owned


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  ·1· · · by XBT is on -- and this was a little

  ·2· · · unclear to me -- either a decommissioned

  ·3· · · military base or a current military base.

  ·4· · · Is that correct?

  ·5· · · · · A.· · Both is not correct.· It is

  ·6· · · institute.

  ·7· · · · · Q.· · Okay.· What is the institute?

  ·8· · · · · A.· · University.

  ·9· · · · · Q.· · Right.· I am sorry.· It was a bad

  10· · · question.

  11· · · · · · · · What is the name of the institute?

  12· · · · · A.· · Kurchatov University.

  13· · · · · Q.· · Okay.· What is Kurchatov

  14· · · University?

  15· · · · · A.· · Is a university where they doing a

  16· · · lot of different things.· Many, many, many

  17· · · different laboratories.· One of them is

  18· · · the -- they have also small nuclear reactor

  19· · · there and that is the reason why it is a

  20· · · little bit stronger security within the

  21· · · perimeter.

  22· · · · · Q.· · Is that a state-owned university?

  23· · · · · A.· · Yes.· But this data center which

  24· · · we own is not owned by the state.· It is a

  25· · · private company who owns the building and


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  ·1· · · who owns the data.

  ·2· · · · · Q.· · The private company leases space

  ·3· · · on this land at the university owned by the

  ·4· · · state, correct?

  ·5· · · · · A.· · Yes.

  ·6· · · · · Q.· · Their landlord is Russia?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · So that is both --

  ·9· · · · · A.· · I don't know if they lease or

  10· · · bought.· I am sorry.· I don't know these

  11· · · details.· But I know this is a private

  12· · · company.

  13· · · · · Q.· · To get to the data center you have

  14· · · to walk onto the grounds of Kurchatov

  15· · · University, correct?

  16· · · · · A.· · Yes.

  17· · · · · Q.· · Okay.· And that is both the Safe

  18· · · Data rack and the Kurchatov where you have

  19· · · the hundred racks, right -- sorry, hundred

  20· · · servers, right -- no.· Hundred racks?

  21· · · · · A.· · Hundred racks.

  22· · · · · Q.· · Okay.· And both of those data

  23· · · centers are in that university --

  24· · · · · A.· · No.· Safe Data is outside.

  25· · · · · Q.· · Safe Data is outside but Kurchatov


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  ·1· · · is inside?

  ·2· · · · · A.· · Yes.

  ·3· · · · · Q.· · Okay.· Gotcha.

  ·4· · · · · · · · Mr. Bezruchenko testified that to

  ·5· · · get to that -- to one of your points of

  ·6· · · presence you had to be a Russian national.

  ·7· · · Is that the Kurchatov Data Center?

  ·8· · · · · A.· · Yes.· To able to go not Russian

  ·9· · · nationality, you have to get special

  10· · · permission.

  11· · · · · Q.· · Mr. Bezruchenko was pretty clear

  12· · · he could not go because he was not Russian.

  13· · · · · A.· · You can get a special permission

  14· · · to go but you have to apply before and when

  15· · · we was doing inspection of data center

  16· · · during acquisition of the company I walk in

  17· · · because I am Russian citizen as well and

  18· · · another -- somebody else, I don't remember,

  19· · · I walk in to make inspection of data center

  20· · · to check the services there and he cannot

  21· · · enter because to get this permission you

  22· · · need to apply before I think two weeks.

  23· · · · · Q.· · Okay.· Did you all have to get

  24· · · permission from the Russian government to

  25· · · lease the space at Kurchatov?


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  ·1· · · · · A.· · No.· It is a private company.

  ·2· · · · · Q.· · Why did you guys buy -- what was

  ·3· · · the reason behind the decision to buy

  ·4· · · Yedinaya Set?

  ·5· · · · · A.· · We want to open this market for

  ·6· · · us.

  ·7· · · · · Q.· · The Russian market, correct?

  ·8· · · · · A.· · Correct.

  ·9· · · · · Q.· · Why at that time in 2015?

  10· · · · · A.· · We get a lot of request from our

  11· · · customers to have a point of presence, have

  12· · · some service in Russia because they apply a

  13· · · new law about where the citizen data should

  14· · · be stored.

  15· · · · · Q.· · What was that law?

  16· · · · · A.· · It was a law that some data about

  17· · · Russian citizen should store on the

  18· · · territory of Russia.

  19· · · · · Q.· · I am just going to ask Steve to

  20· · · mark as Exhibit 2 this S -- I am sorry, XBT

  21· · · press release.

  22· · · · · · · · (XBT press release was marked

  23· · · Exhibit 2 for identification)

  24· · BY MS. BOLGER:

  25· · · · · Q.· · Mr. Gubarev, I will represent the


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  ·1· · · document on the XBT web site that I printed

  ·2· · · out and you will see that the name of this

  ·3· · · particular press release is "Servers.com is

  ·4· · · Expanding to Russia."

  ·5· · · · · · · · Are you with me?

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · Okay.· I wanted you to just look

  ·8· · · at the second graph which starts out, "The

  ·9· · · move enables XBT to deploy its solutions to

  10· · · the local market in observance of the legal

  11· · · standards of the Russian Federation.· As a

  12· · · result customers of the company from Russia

  13· · · and abroad will be able to allocate servers

  14· · · in the Russian Federation in full compliance

  15· · · with and according to the federal law in

  16· · · regards to the use and storage of personal

  17· · · data."

  18· · · · · · · · Do you see that?

  19· · · · · A.· · Yes.

  20· · · · · Q.· · Okay.· That is what we just talked

  21· · · about, correct?

  22· · · · · A.· · That is what I told you.

  23· · · · · Q.· · Okay.· Is -- are XBT's points of

  24· · · presence in Russia in full compliance with

  25· · · the federal law in regards to the use and


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  ·1· · · storage of personal data?

  ·2· · · · · A.· · Is no regulation for that.

  ·3· · · · · Q.· · I am sorry.· Say that again?

  ·4· · · · · A.· · I believe there is no regulation

  ·5· · · for that.· They just have to be located

  ·6· · · within Russia, that is it.

  ·7· · · · · Q.· · Do you what the words -- have you

  ·8· · · ever heard of SORM?

  ·9· · · · · A.· · Yes.

  10· · · · · Q.· · What is SORM?

  11· · · · · A.· · SORM is a -- which telecom company

  12· · · have to put in their facilities to give

  13· · · access to federal authorities in Russia.

  14· · · · · Q.· · Okay.· And as you understand SORM

  15· · · are you all required to do that?

  16· · · · · A.· · No.

  17· · · · · Q.· · Why not?

  18· · · · · A.· · Because hosting provider is not

  19· · · obliged to do this by law.

  20· · · · · Q.· · Is that the case even though you

  21· · · are providing internet networks?

  22· · · · · A.· · No.· Any company providing

  23· · · internet who do web hosting.

  24· · · · · Q.· · Right.· But so what in -- what

  25· · · kind of companies are required to comply


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  ·1· · · with SORM?

  ·2· · · · · A.· · Telecom companies.

  ·3· · · · · Q.· · Isn't it the case that the

  ·4· · · Russians banned Facebook, the Russian

  ·5· · · government banned Facebook from operating in

  ·6· · · Russia for a period of time because they

  ·7· · · were not compliant with SORM?

  ·8· · · · · A.· · This I don't know.

  ·9· · · · · Q.· · What is a telecommunication

  10· · · company to you?

  11· · · · · A.· · Big companies, like AT&T, or the

  12· · · one who provide -- AT&T is a good example.

  13· · · · · Q.· · I am looking for you -- that is an

  14· · · example, thank you.

  15· · · · · · · · What is the definition of a

  16· · · telecommunication company, what does it

  17· · · mean?

  18· · · · · A.· · So many different

  19· · · telecommunication companies.· It can be one

  20· · · telecom company that can provide satellite

  21· · · connection -- mobile connection.

  22· · · · · · · · It can be a company who provide

  23· · · the fibers.

  24· · · · · · · · It can be company who provide just

  25· · · internet access like level 3 communication.


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  ·1· · · · · · · · So different I cannot actually

  ·2· · · tell what exactly telecom company because it

  ·3· · · is so broad topic.

  ·4· · · · · Q.· · But you don't consider yourself

  ·5· · · within that?

  ·6· · · · · A.· · No.· We are hosting company.

  ·7· · · · · Q.· · Are there regulations regarding

  ·8· · · governmental access to web hosting companies

  ·9· · · in Russia?

  10· · · · · A.· · I don't understand the question.

  11· · · · · Q.· · Well, we have things like the FCC

  12· · · that monitor communications in the United

  13· · · States of America.

  14· · · · · · · · I am asking if there is a Russian

  15· · · federal system that regulates in any way the

  16· · · type of company you are, a web hosting

  17· · · company?

  18· · · · · A.· · Our company don't -- web hosting

  19· · · company by law don't require any license.

  20· · · · · Q.· · Are there any regulations that

  21· · · apply to them, to a web hosting company?

  22· · · · · A.· · It is a standard law.· It is a

  23· · · law.· It is a law which is saying that.· It

  24· · · is not regulation, it is a law.

  25· · · · · Q.· · Okay.· What are the laws?


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  ·1· · · · · A.· · The law is that -- I don't know

  ·2· · · exactly for these specific companies.· Like

  ·3· · · in hosting you are not required to get any

  ·4· · · telecommunications devices.· This is

  ·5· · · official information. It is publicly

  ·6· · · available.

  ·7· · · · · Q.· · Okay.· But I am asking a sightly

  ·8· · · different question which is, so are there

  ·9· · · for example reporting regulations, are you

  10· · · required to provide certain information to

  11· · · the government at regular intervals?

  12· · · · · A.· · No.

  13· · · · · Q.· · Sorry?

  14· · · · · A.· · No.

  15· · · · · Q.· · Okay?

  16· · · · · A.· · Just for nothing, why.

  17· · · · · Q.· · So what is -- I am reading XBT's

  18· · · press release.· It says, "In full compliance

  19· · · with and according to the federal law in

  20· · · regards to the use and storage of personal

  21· · · data."

  22· · · · · · · · What is the federal law in regards

  23· · · to the use and storage of personal data that

  24· · · XBT is complying with?

  25· · · · · A.· · The law was that the information


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  ·1· · · about Russian citizen should be located

  ·2· · · within the Russia.· That is it.

  ·3· · · · · Q.· · That is -- so in this press

  ·4· · · release you, XBT, are holding yourselves out

  ·5· · · as complying with exactly that one rule,

  ·6· · · that is the only rule you are complying

  ·7· · · with?

  ·8· · · · · A.· · I don't understand your question.

  ·9· · · · · Q.· · It says that your -- your

  10· · · customers who buy your products "will be in

  11· · · full compliance with and according to the

  12· · · federal law in regards to the use and

  13· · · storage of personal data."

  14· · · · · · · · My question is, is the only

  15· · · federal law you are referencing in that

  16· · · paragraph the law that requires the data of

  17· · · Russian citizens to be stored in Russia?

  18· · · · · A.· · This is what it says here that

  19· · · we -- what it says here that you are

  20· · · complying with the federal law in regards to

  21· · · use of storage with -- stored data.

  22· · · · · Q.· · Right.· I am asking you what that

  23· · · means, what law is that referring to?

  24· · · · · A.· · You can download from internet and

  25· · · just check it.· It is publicly available


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  ·1· · · information.

  ·2· · · · · Q.· · I can -- sure, I can do that but

  ·3· · · that is not sworn testimony by you.

  ·4· · · · · · · · I want to know what law that is

  ·5· · · that you say you are complying with.

  ·6· · · · · · · · MR. GURVITS:· Objection.

  ·7· · · · · · · · THE WITNESS:· This explain you

  ·8· · · · · here.

  ·9· · BY MS. BOLGER:

  10· · · · · Q.· · No, that doesn't explain me.· It

  11· · · doesn't explain it to me.

  12· · · · · A.· · Then how I can help you?

  13· · · · · Q.· · Because y'all wrote it.· XBT wrote

  14· · · this document.· I want to know what it

  15· · · meant.· What did --

  16· · · · · A.· · This is what is mentioned here.

  17· · · For me is --

  18· · · · · · · · MR. GURVITS:· Can I point out

  19· · · · · that it says "customers will be in

  20· · · · · full compliance."

  21· · · · · · · · MS. BOLGER:· Yes.

  22· · · · · · · · MR. GURVITS:· It doesn't say XBT

  23· · · · · is in full compliance.

  24· · · · · · · · MS. BOLGER:· Well, that is fine.

  25· · · · · I --


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  ·1· · · · · · · · MR. GURVITS:· Because you are

  ·2· · · · · telling him that that is what --

  ·3· · · · · · · · MS. BOLGER:· No, I am asking

  ·4· · · · · what law it is that you are

  ·5· · · · · representing to your client that will

  ·6· · · · · be in full compliance with.

  ·7· · · · · · · · THE WITNESS:· It is saying here.

  ·8· · · · · How I can help you.· It is saying here

  ·9· · · · · exactly.· If you want to --

  10· · BY MS. BOLGER:

  11· · · · · Q.· · What is the federal law that your

  12· · · customers will be in compliance with?

  13· · · · · A.· · You can download from internet and

  14· · · translate it and read if you want.

  15· · · · · Q.· · But --

  16· · · · · A.· · It is a public information

  17· · · available.

  18· · · · · Q.· · Right.· You are holding yourselves

  19· · · out to your clients in a way that says that

  20· · · they will be compliant with Russian federal

  21· · · law.· I just want to know what law it is

  22· · · they will be complying with.

  23· · · · · A.· · This is saying here.· Federal law

  24· · · about storage is -- of personal data.· How I

  25· · · can help you?


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  ·1· · · · · Q.· · What it means is that you are

  ·2· · · representing to your customers that your

  ·3· · · racks in these points of presence in Moscow

  ·4· · · are in full compliance with the federal law

  ·5· · · of Russia and you are perfectly happy to let

  ·6· · · me define what that is?

  ·7· · · · · · · · MR. GURVITS:· Objection.

  ·8· · · · · · · · THE WITNESS:· I don't understand

  ·9· · · · · your question.· You are messing up

  10· · · · · everything.· This is --

  11· · BY MS. BOLGER:

  12· · · · · Q.· · Correct me.

  13· · · · · A.· · Here it is -- federal law in

  14· · · regards to the use of storage of personal

  15· · · data.· This is federal law about that.· This

  16· · · is customer will get compliance if they

  17· · · store their data within Russia.· That is it.

  18· · · · · · · · It is no any special regulation

  19· · · requirements how you store the data.· You

  20· · · just have to store it.

  21· · · · · Q.· · Mr. Gubarev, that is actually the

  22· · · question I asked you about five minutes ago

  23· · · before you started to fight with me.

  24· · · · · · · · What I was saying is the -- I am

  25· · · asking you specifically in this press


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  ·1· · · release are you saying that the rule that

  ·2· · · your customers will be complying with is the

  ·3· · · rule regarding the storage of personal data

  ·4· · · in Russia?

  ·5· · · · · A.· · I don't understand your question

  ·6· · · because you phrase it completely strange for

  ·7· · · me.

  ·8· · · · · Q.· · Answer the question.· Answer the

  ·9· · · question I just asked you.

  10· · · · · A.· · Could you repeat the question?

  11· · · · · Q.· · Sure.

  12· · · · · · · · In this press release are you

  13· · · saying that the federal law that your

  14· · · customers will be complying with is the law

  15· · · regarding the storage of personal data in

  16· · · Russia?

  17· · · · · A.· · Yes.

  18· · · · · Q.· · That is the only law you are

  19· · · talking about here, question mark.

  20· · · · · A.· · Yes.

  21· · · · · Q.· · Okay.

  22· · · · · A.· · This is actually saying here.

  23· · · · · Q.· · No.· It doesn't say that.

  24· · · · · A.· · It is saying federal law --

  25· · · · · · · · MR. GURVITS:· Just answer the


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  ·1· · · · · questions and don't fight with the

  ·2· · · · · examiner.

  ·3· · · · · · · · THE WITNESS:· I don't fight.

  ·4· · · · · · · · MR. GURVITS:· Just answer the

  ·5· · · · · questions.

  ·6· · BY MS. BOLGER:

  ·7· · · · · Q.· · Have you ever spoken to German

  ·8· · · Klimenko?

  ·9· · · · · A.· · German Klimenko?

  10· · · · · Q.· · Yes.

  11· · · · · A.· · Yes, I spoke to him.

  12· · · · · Q.· · When did you speak with him?

  13· · · · · A.· · Last time?

  14· · · · · Q.· · Well, how -- have you spoken to

  15· · · him more than once?

  16· · · · · A.· · I meet him on conference two or

  17· · · three times.

  18· · · · · Q.· · Okay.· Who is he by the way?

  19· · · · · A.· · He is internet entrepreneur.· He

  20· · · owns several internet companies.

  21· · · · · Q.· · He was also President Putin's

  22· · · internet adviser until very recently,

  23· · · correct?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · Actually this month, right, he was


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  ·1· · · terminated?

  ·2· · · · · A.· · Yes.

  ·3· · · · · Q.· · You met him at a bunch of

  ·4· · · conferences you said?

  ·5· · · · · A.· · Two, three times I told you.

  ·6· · · · · Q.· · Okay.· And you have had personal

  ·7· · · conversations with him?

  ·8· · · · · A.· · Yes.

  ·9· · · · · Q.· · What kind of conversations?

  10· · · · · A.· · About business in general.

  11· · · · · Q.· · Okay.· What have you talked about?

  12· · · · · A.· · About his project Media Metrics

  13· · · for example.

  14· · · · · Q.· · What conferences have you met him

  15· · · at?

  16· · · · · A.· · One was -- what is the name?          I

  17· · · don't remember like name of the conferences,

  18· · · approximately every year but I don't

  19· · · remember exact name of the conference, but

  20· · · very big one.· RIF.

  21· · · · · Q.· · Spell that.

  22· · · · · A.· · R-I-F.

  23· · · · · Q.· · R-F-E -- R-E-F?

  24· · · · · A.· · Yes.· A thousand people there.

  25· · · · · Q.· · "A thousand people there."· Is


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  ·1· · · that the conference in St. Petersburg?

  ·2· · · · · A.· · Eh?

  ·3· · · · · Q.· · Is that the conference that is in

  ·4· · · St. Petersburg?

  ·5· · · · · A.· · No.· Moscow.

  ·6· · · · · Q.· · It is in Moscow.· Okay.· You met

  ·7· · · him there.· Were -- and how many times --

  ·8· · · you said you met him two or three times.

  ·9· · · When, like what years?

  10· · · · · A.· · I don't remember exact.

  11· · · · · Q.· · In the last five years?

  12· · · · · A.· · Oh, yes.

  13· · · · · Q.· · So between say 2013 and the

  14· · · present?

  15· · · · · A.· · I think I actually -- yes,

  16· · · something like that.

  17· · · · · Q.· · Maybe more recently than that?

  18· · · · · A.· · More recently, you mean?

  19· · · · · Q.· · From 2015 to the present.

  20· · · · · A.· · It is hard to remember where I met

  21· · · him.· I think it was last time I was on RIF

  22· · · when I met him, 2015 or 2016.

  23· · · · · Q.· · The last time you met him was in

  24· · · 2015 or 2016?

  25· · · · · A.· · Yes.


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  ·1· · · · · Q.· · Have y'all ever socialized outside

  ·2· · · of these conferences?

  ·3· · · · · A.· · No.

  ·4· · · · · Q.· · Have you ever met a gentleman

  ·5· · · named Nikoli, sorry, I am going to

  ·6· · · mispronounce this, Nikiforov?

  ·7· · · · · A.· · Nikiforov is ex-minister of

  ·8· · · communication.

  ·9· · · · · Q.· · I am not sure if he is the ex but,

  10· · · yes, he was the minister of communications

  11· · · at some point, so yes.

  12· · · · · A.· · I meet him once in conference, the

  13· · · same RIF.

  14· · · · · Q.· · What year was that?

  15· · · · · A.· · '15 or '16.· I don't remember

  16· · · exact date.· I think '16.

  17· · · · · Q.· · What types of conversations have

  18· · · you had with Mr. Nikiforov?

  19· · · · · A.· · Nothing.

  20· · · · · Q.· · You have never spoken to him?

  21· · · · · A.· · We were sitting on one panel

  22· · · together.· He was three chairs again after

  23· · · me and that was it.

  24· · · · · Q.· · What was the panel?

  25· · · · · A.· · I don't remember.· I don't


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  ·1· · · remember.· I was speaking about servers.RU.

  ·2· · · · · Q.· · What were you saying about

  ·3· · · servers.RU?

  ·4· · · · · A.· · We open location with a new way of

  ·5· · · communication and data centers and

  ·6· · · completely different product for Russian

  ·7· · · market.

  ·8· · · · · Q.· · Have you ever met a gentleman by

  ·9· · · the name of Vadim Subbotin?

  10· · · · · A.· · I don't know.· Who is this guy?

  11· · · · · Q.· · He is --

  12· · · · · A.· · It is better if you tell me who is

  13· · · it because I don't remember.

  14· · · · · Q.· · I mean from what I can tell he

  15· · · seems to be an internet entrepreneur who was

  16· · · also the Moscow deputy general who Mr. Dvas

  17· · · knows.· That is where I got the name

  18· · · Mr. Dvas.

  19· · · · · A.· · Maybe Dvas know him.

  20· · · · · Q.· · But you don't?

  21· · · · · A.· · I don't remember.

  22· · · · · Q.· · We don't have to go off the record

  23· · · but I have to answer a text from my brother.

  24· · · One second.

  25· · · · · · · · (Discussion off the record)


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  ·1· · · · · · · · MS. BOLGER:· I will ask Steve to

  ·2· · · · · mark as Exhibit 3 a document that was

  ·3· · · · · actually produced to us last night

  ·4· · · · · which is ONS -- the only pronounceable

  ·5· · · · · word on this page to me, it says

  ·6· · · · · ONSEC.· It is a document that was

  ·7· · · · · produced in Russian.

  ·8· · · · · · · · (Russian document translated by

  ·9· · · interpreter as "Web project servers.com

  10· · · information security audit" of August,

  11· · · September 2015 was marked Exhibit 3 for

  12· · · identification)

  13· · BY MS. BOLGER:

  14· · · · · Q.· · Mr. Gubarev, what is this

  15· · · document?

  16· · · · · A.· · I don't know.· I have just first

  17· · · time see it.· I don't see it before.

  18· · · · · Q.· · Okay.· We are in this together

  19· · · then, Mr. Gubarev, because I received this

  20· · · document last night at about 10:00 at night

  21· · · and so I have not seen it either.· So I was

  22· · · hoping you might give me a little insight

  23· · · into what it is.

  24· · · · · A.· · I can read it if you like.

  25· · · · · Q.· · I would like you to read it to me,


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  ·1· · · please.

  ·2· · · · · · · · THE WITNESS:· Could you read it?

  ·3· · BY MS. BOLGER:

  ·4· · · · · Q.· · Here.· You can have your own copy.

  ·5· · · · · A.· · It is more proper if she can read

  ·6· · · it.

  ·7· · · · · · · · THE INTERPRETER:· You want me to

  ·8· · · · · translate -- not to read it in Russian

  ·9· · · · · but to --

  10· · · · · · · · MS. BOLGER:· You can say it in

  11· · · · · Russian if you want to but what I

  12· · · · · really want know is what the document

  13· · · · · says.

  14· · · · · · · · THE INTERPRETER:· It is web

  15· · · · · server --

  16· · · · · · · · THE WITNESS:· No. No.

  17· · · · · · · · THE INTERPRETER:· -- "Web

  18· · · · · project servers.com information

  19· · · · · security audit."

  20· · · · · · · · MS. BOLGER:· The date at the

  21· · · · · bottom?

  22· · · · · · · · THE INTERPRETER:· The date at

  23· · · · · the bottom is August, September 2015.

  24· · · · · · · · MS. BOLGER:· Okay.

  25· · · · · · · · THE INTERPRETER:· And that is a


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  ·1· · · · · report based on the audit results.

  ·2· · · · · That is right under the title.

  ·3· · BY MS. BOLGER:

  ·4· · · · · Q.· · Mr. Gubarev, does that -- so this

  ·5· · · appears to me to be some kind of security

  ·6· · · audit done by ONSEC of servers.com in 2015.

  ·7· · · Is that correct?

  ·8· · · · · A.· · Yes.

  ·9· · · · · Q.· · Do you know who asked for this to

  10· · · be done?

  11· · · · · A.· · Konstantine Bezruchenko and

  12· · · Nikolay Dvas asked us to do this audit on

  13· · · behalf of servers.com.

  14· · · · · Q.· · Okay.· Asked who to do the audit?

  15· · · · · A.· · ONSEC.

  16· · · · · Q.· · What is ONSEC?

  17· · · · · A.· · A security company located in the

  18· · · United States.

  19· · · · · Q.· · Okay.· I have actually done a bit

  20· · · of research online since 10:00 last night

  21· · · and I can't find ONSEC in the United States.

  22· · · I think it is a Russian company; is that

  23· · · correct?

  24· · · · · A.· · I don't know.· We always -- like

  25· · · we use several companies for audit.


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  ·1· · · · · Q.· · You use several companies to

  ·2· · · audit, is that what you just said?

  ·3· · · · · A.· · As I know.

  ·4· · · · · Q.· · I am sorry.· Is that what you just

  ·5· · · said, you just said "We use several

  ·6· · · companies to audit," correct?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · What companies do you use to

  ·9· · · audit?

  10· · · · · A.· · This wasn't a topic which I have

  11· · · to prepare for today.

  12· · · · · Q.· · You produced the documents to me

  13· · · last night and instead of having to call

  14· · · back another witness to explain to me what

  15· · · this is I thought I would give you a chance

  16· · · to help me out.

  17· · · · · A.· · Is ONSEC and is another company in

  18· · · the -- what is the name of the company?

  19· · · WALLARM.· WALLARM.

  20· · · · · Q.· · Okay.· So there is WALLARM,

  21· · · W-A-L-L-A-R-M.

  22· · · · · · · · There is WALLARM and ONSEC?

  23· · · · · A.· · Yes.

  24· · · · · Q.· · Okay.· You said "several" that is

  25· · · only two.


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  ·1· · · · · A.· · Yes.

  ·2· · · · · Q.· · So are there more than two

  ·3· · · companies you used to audit?

  ·4· · · · · A.· · I think no.

  ·5· · · · · Q.· · Okay.· How many times has XBT used

  ·6· · · ONSEC to audit?

  ·7· · · · · A.· · Once.

  ·8· · · · · Q.· · One time.· Okay.

  ·9· · · · · · · · Do you know how it came to be that

  10· · · Mr. Bezruchenko decided you needed to do an

  11· · · audit of servers.com?

  12· · · · · A.· · When it was created the product we

  13· · · need to external our opinion before we

  14· · · launch product.

  15· · · · · Q.· · When you created the product you

  16· · · needed an external opinion before you

  17· · · launched, is that what you said?

  18· · · · · A.· · Yes.· A opinion about that

  19· · · product.

  20· · · · · Q.· · Okay.· Why did you need that

  21· · · opinion?

  22· · · · · A.· · To make sure that our internal

  23· · · system is protected.

  24· · · · · Q.· · Okay.· Why did y'all choose ONSEC?

  25· · · · · A.· · They must have good reputation in


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  ·1· · · the market.

  ·2· · · · · Q.· · Okay.· Do you know that or are you

  ·3· · · hypothesizing?

  ·4· · · · · A.· · I guess.

  ·5· · · · · Q.· · I don't want you to guess,

  ·6· · · Mr. Gubarev.· I feel like we are close

  ·7· · · enough now that I can tell you please don't

  ·8· · · guess, Mr. Gubarev.

  ·9· · · · · A.· · Okay.

  10· · · · · Q.· · Okay.· I think you said you hadn't

  11· · · seen this before, right?

  12· · · · · A.· · No.

  13· · · · · Q.· · Do you know what its conclusions

  14· · · were even if you haven't seen the document

  15· · · before?

  16· · · · · A.· · I can read it if you want.

  17· · · · · Q.· · I will get to that in a second but

  18· · · I wanted to know before you turn the page do

  19· · · you know what the conclusions were of this

  20· · · report?

  21· · · · · A.· · No.· It was not my duty in the

  22· · · company.

  23· · · · · Q.· · I just want to know if you know or

  24· · · not, yes or no?

  25· · · · · A.· · No.


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  ·1· · · · · Q.· · Okay.· Can you turn to the third

  ·2· · · page of the document which I think is the

  ·3· · · "Overall Conclusions."

  ·4· · · · · A.· · Yes.

  ·5· · · · · Q.· · I will ask you, and, Madam

  ·6· · · Translator, please, to just read the top,

  ·7· · · not in Russian, but if you could translate

  ·8· · · the top line of page 3, not the line next to

  ·9· · · ONSEC but the line -- the top line in

  10· · · regular text.

  11· · · · · · · · THE INTERPRETER:· "Conclusion on

  12· · · · · the audit results."

  13· · BY MS. BOLGER:

  14· · · · · Q.· · Okay.· So I think this is the page

  15· · · that represents the conclusions, is that

  16· · · right, Mr. Gubarev?

  17· · · · · A.· · Could you please repeat it?

  18· · · · · · · · THE INTERPRETER:· "Conclusion on

  19· · · · · the audit results."

  20· · · · · · · · THE WITNESS:· Yes.

  21· · BY MS. BOLGER:

  22· · · · · Q.· · So that I think is the conclusion

  23· · · of the report, correct?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · These are the conclusions of the


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  ·1· · · report?

  ·2· · · · · A.· · Yes.

  ·3· · · · · · · · MS. BOLGER:· So please take the

  ·4· · · · · time to read it, please, Madam

  ·5· · · · · Translator, take the time read it.          I

  ·6· · · · · want to understand what the first

  ·7· · · · · paragraph says in English and so if

  ·8· · · · · you want to read it in Russian and

  ·9· · · · · think about it that is fine but I am

  10· · · · · just going to ask you Madam Translator

  11· · · · · to explain to me what it says in

  12· · · · · English once you had a chance to look

  13· · · · · at it.

  14· · · · · · · · THE WITNESS:· Can she translate

  15· · · · · it for you?

  16· · · · · · · · MS. BOLGER:· Yes, but I want you

  17· · · · · to be comfortable with it.

  18· · · · · · · · THE INTERPRETER:· Okay.

  19· · · · · · · · "Based on the results of the

  20· · · · · audit conducted general level of the

  21· · · · · protection of the VEP.· That project

  22· · · · · is evaluated as low.· Such an

  23· · · · · evaluation is conditioned upon -- upon

  24· · · · · critical weaknesses -- critical

  25· · · · · weaknesses in the client part of the


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  ·1· · · · · web application.· Such weaknesses have

  ·2· · · · · high risk -- high level of risk --

  ·3· · · · · high risk level but for the

  ·4· · · · · maintenance they require interaction

  ·5· · · · · with the attack -- interaction between

  ·6· · · · · the attacker with the group of -- with

  ·7· · · · · the group of users, target users."

  ·8· · · · · · · · MR. GURVITS:· Hold on one

  ·9· · · · · second.

  10· · · · · · · · I would say "maintenance" is not

  11· · · · · the right translation.· I would say

  12· · · · · "operation."

  13· · · · · · · · THE INTERPRETER:· Operation,

  14· · · · · okay, "But for its operation" --

  15· · · · · · · · THE WITNESS:· I will say

  16· · · · · differently because she is not

  17· · · · · correct.

  18· · · · · · · · THE INTERPRETER:· Okay.

  19· · · · · · · · THE WITNESS:· "But for operation

  20· · · · · of this critical" --

  21· · · · · · · · MR. GURVITS:· Weakness.

  22· · · · · · · · THE WITNESS:· "For operation of

  23· · · · · this critical weaknesses it is

  24· · · · · required to be -- attacker be

  25· · · · · connected with the group of -- of


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  ·1· · · · · the -- group of the target users."

  ·2· · · · · · · · MS. BOLGER:· That is what Madam

  ·3· · · · · Translator said.

  ·4· · · · · · · · THE WITNESS:· Yes, but she used

  ·5· · · · · different word that is not correct.

  ·6· · · · · · · · MS. BOLGER:· No, she didn't but

  ·7· · · · · okay.· I am looking at this.

  ·8· · BY MS. BOLGER:

  ·9· · · · · Q.· · Okay.· So what -- the very first

  10· · · paragraph and I think the first sentence

  11· · · says is that "The general level of

  12· · · protection for servers.com is evaluated as

  13· · · low."· Correct?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · Okay.· And then it says that is

  16· · · because it has a critical weakness, correct?

  17· · · · · · · · MR. GURVITS:· Objection.

  18· · · · · · · · THE WITNESS:· Yes.· But --

  19· · BY MS. BOLGER:

  20· · · · · Q.· · Then it describes the critical

  21· · · weakness as a coordinated attack between an

  22· · · attacker and a group of target users,

  23· · · correct?

  24· · · · · A.· · Yes.· But is not easy to make such

  25· · · type of attacks.


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  ·1· · · · · Q.· · Okay.· You can tell me that in a

  ·2· · · second but I just want to make sure that I

  ·3· · · am understanding what this paragraph says,

  ·4· · · correct?

  ·5· · · · · A.· · Okay.

  ·6· · · · · Q.· · My understanding the way I just

  ·7· · · articulated to you is what that paragraph

  ·8· · · says, correct?

  ·9· · · · · A.· · Yes.

  10· · · · · Q.· · Did y'all undertake any activity

  11· · · at servers.com to fix this weakness?

  12· · · · · A.· · Of course.

  13· · · · · Q.· · What did you do?

  14· · · · · A.· · We give this report to our

  15· · · programmers and manager of the project at

  16· · · servers.com to make sure that this whole

  17· · · critical things we do will be closed down --

  18· · · critical findings will be closed down.

  19· · · · · Q.· · Who is the project manager who you

  20· · · asked to make sure this whole critical

  21· · · finding was closed down?

  22· · · · · A.· · Nick Dvas at this moment.

  23· · · · · Q.· · Nick Dvas?

  24· · · · · A.· · Yes, and he has some other

  25· · · employees, correct, is in the company.


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  ·1· · · · · Q.· · And did Mr. Dvas close this

  ·2· · · finding down?

  ·3· · · · · A.· · Of course.

  ·4· · · · · Q.· · How do you know that?

  ·5· · · · · A.· · His duty to this and I know

  ·6· · · 100 percent he did this.

  ·7· · · · · Q.· · How do you know other than the

  ·8· · · fact that you trust Mr. Dvas, do you have a

  ·9· · · reason --

  10· · · · · A.· · I know 100 percent that he did it.

  11· · · · · Q.· · Can I finish my question.

  12· · · · · · · · Other than the fact that you know

  13· · · Mr. Dvas how do you know that he did it?

  14· · · · · A.· · I heard -- I remember that I heard

  15· · · that there were some things that was like we

  16· · · need to fix and they were fixed.· They told

  17· · · me, Nick Dvas.

  18· · · · · Q.· · Mr. Dvas told you?

  19· · · · · A.· · Yes.

  20· · · · · Q.· · Okay.· And did y'all get a second

  21· · · security audit after Mr. Dvas told you he

  22· · · fixed these problems?

  23· · · · · A.· · I don't know which was the dates

  24· · · of the audits was done.· Like I mean I think

  25· · · this was the first and then it was -- I mean


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  ·1· · · this was -- I think this was the first and

  ·2· · · after that was WALLARM report, it seemed

  ·3· · · like after we closed all holes we need

  ·4· · · WALLARM report to make sure that we are

  ·5· · · correct.

  ·6· · · · · Q.· · Okay.· So why did you switch

  ·7· · · companies?

  ·8· · · · · A.· · Is better to get different

  ·9· · · opinion.

  10· · · · · Q.· · Okay.· So you think that I will go

  11· · · back and look at the WALLARM report and find

  12· · · that it is after --

  13· · · · · A.· · I don't.

  14· · · · · Q.· · -- September of 2015?

  15· · · · · A.· · Sorry.

  16· · · · · · · · I see this just today.· This is

  17· · · what I am thinking.

  18· · · · · Q.· · Mr. Gubarev, I got it last night.

  19· · · · · · · · You can either tell me about this

  20· · · document or I can make you guys tell me more

  21· · · about it another time.· I am trying to cut

  22· · · to the chase here and figure out what is

  23· · · going on this with document.

  24· · · · · A.· · I am doing it myself.

  25· · · · · Q.· · Okay. So --


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  ·1· · · · · A.· · Could you find WALLAM report?

  ·2· · · · · Q.· · Not right this second, no.· So my

  ·3· · · point is do you think -- you think the

  ·4· · · WALLARM report was after this ONSEC report

  ·5· · · to assess whether the critical weakness was

  ·6· · · fixed?

  ·7· · · · · A.· · This is what I think.

  ·8· · · · · Q.· · Okay.

  ·9· · · · · · · · MS. BOLGER:· So Mr. Siegel,

  10· · · · · Nathan is going to take over and ask

  11· · · · · the financial questions so let's just

  12· · · · · take a quick break and change seats.

  13· · · · · · · · THE WITNESS:· You are done?

  14· · · · · · · · MS. BOLGER:· You are done with

  15· · · · · me.

  16· · · · · · · · THE VIDEOGRAPHER:· Going off the

  17· · · · · record at 11:34 a.m.

  18· · · · · · · · (Recess)

  19· · · · · · · · MR. SIEGEL:· Mark this as

  20· · · · · Exhibit 4.

  21· · · · · · · · (Document Bates numbered PC-80 was

  22· · · marked Exhibit 4 for identification)

  23· · · · · · · · THE VIDEOGRAPHER:· This marks

  24· · · · · the start of media number 3.

  25· · · · · · · · We are back on the record at


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  ·1· · · · · 11:45 a.m.

  ·2· · BY MR. SIEGEL:

  ·3· · · · · Q.· · Good morning, Mr. Gubarev.

  ·4· · · · · · · · So this part of the deposition

  ·5· · · will cover topics -- what were topics 6 and

  ·6· · · 7 on the deposition notice which all relate

  ·7· · · to money.

  ·8· · · · · · · · What did you do to prepare for

  ·9· · · this part of the deposition, for those

  10· · · topics?

  11· · · · · A.· · I read your requirements.· I spoke

  12· · · with my lawyers about that.

  13· · · · · · · · I spoke with Rajesh who is the CFO

  14· · · of the company.

  15· · · · · · · · I spoke with Nikolay Dvas about

  16· · · some numbers.

  17· · · · · Q.· · Okay.

  18· · · · · A.· · This is what I did.

  19· · · · · Q.· · And you are here to talk -- to

  20· · · testify on behalf of XBT.

  21· · · · · · · · What is your relationship to XBT

  22· · · right now?

  23· · · · · A.· · Right now I am major shareholder.

  24· · · · · Q.· · You are major shareholder, okay.

  25· · · Are you the largest shareholder?


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  ·1· · · · · A.· · Over 50 percent largest as well,

  ·2· · · over 50 percent.

  ·3· · · · · Q.· · I showed you the exhibit, what is

  ·4· · · the document that was produced by your

  ·5· · · counsel as Bates number PC-80.

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · Could you turn to the third page

  ·8· · · of this which has the numbers for 2016?

  ·9· · · · · A.· · I did already.

  10· · · · · Q.· · Fair enough.

  11· · · · · · · · So the first thing I am going to

  12· · · ask you to do is to explain what each of the

  13· · · categories of revenues on the left mean in

  14· · · what we would say layman's terms I guess.

  15· · · · · · · · So starting with "managed servers

  16· · · revenue," I take it that that is revenue is

  17· · · that -- from what is it, from the leasing of

  18· · · managed servers?

  19· · · · · A.· · It is from the leasing of the

  20· · · servers.

  21· · · · · Q.· · Okay.· So that is money paid by

  22· · · customers who lease servers to the company?

  23· · · · · A.· · No.· They lease servers from the

  24· · · company --

  25· · · · · Q.· · Right.


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  ·1· · · · · A.· · -- and they pay to us.

  ·2· · · · · Q.· · Yes.· Okay.

  ·3· · · · · · · · And so would servers that are not

  ·4· · · managed would they not be in this category?

  ·5· · · · · A.· · Well, this category for all

  ·6· · · servers which not belongs to the client

  ·7· · · which owned by us.

  ·8· · · · · Q.· · I see.· Okay.

  ·9· · · · · · · · So does that mean that there could

  10· · · be servers that are owned by you but are not

  11· · · managed by you?

  12· · · · · A.· · Yes.

  13· · · · · Q.· · So is there a different category

  14· · · for servers that are not owned by the

  15· · · company?

  16· · · · · A.· · Co-location.

  17· · · · · Q.· · Could you explain what

  18· · · "co-location" means in this context?

  19· · · · · A.· · Co-location it means that in data

  20· · · center you can take one unit or one rack or

  21· · · multiple racks or multiple racks within

  22· · · different data centers, put your servers and

  23· · · we provide you space -- space in the rack,

  24· · · we provide you electricity, we provide you

  25· · · cooling, we provide you also internet


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  ·1· · · connection and also standard security of the

  ·2· · · data center.

  ·3· · · · · Q.· · Okay.· And the next category is

  ·4· · · "Bandwidth."· I understand what bandwidth

  ·5· · · means but how is it that -- how does the

  ·6· · · companies get revenue from bandwidth.· What

  ·7· · · does that mean as a source of revenue for

  ·8· · · you?

  ·9· · · · · A.· · As I explained to previous, like

  10· · · when you buy a server you have some package

  11· · · with the server of the internet which is

  12· · · included but actually depends if the

  13· · · agreement of the customer.· Whatever expat

  14· · · internet requirements for you you pay extra

  15· · · for.

  16· · · · · Q.· · Okay.· So if I understand what you

  17· · · are saying let's just say hypothetically I

  18· · · am a customer and I have a package for

  19· · · 100,000 gigabytes, okay.· So if I use more

  20· · · than that, let's say I use 110,000 does that

  21· · · mean I pay some overage amount?

  22· · · · · A.· · No.· It means you pay extra for

  23· · · bandwidth.· But, again, it depends on the

  24· · · customer.· You have to see each specific

  25· · · customer.


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  ·1· · · · · Q.· · Okay.

  ·2· · · · · A.· · But this is what is up.

  ·3· · · · · Q.· · So essentially if I am a customer

  ·4· · · I can lease a server and I can purchase a

  ·5· · · certain quantity of bandwidth, right?

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · Okay.· Do I -- to try to simplify

  ·8· · · that as much as possible, for example,

  ·9· · · usually if I have -- if people had data

  10· · · plans on their cell phones, right?

  11· · · · · A.· · It is exactly.

  12· · · · · Q.· · The same thing.· Okay.

  13· · · · · · · · And usually if you have a limited

  14· · · data plan on your cell phone and then you

  15· · · use more data you can use more data but you

  16· · · pay some overage amount?

  17· · · · · A.· · Yes, this is correct.

  18· · · · · Q.· · Okay.· The next category is

  19· · · "Shared/VPS."· What does that mean?

  20· · · · · A.· · This is virtual service.· It means

  21· · · on the one physical machine you can put

  22· · · multiple customers, depends of the product

  23· · · or shared can be 500 customers on one

  24· · · machine.· On the VPS maybe 100, depends on

  25· · · the type of VPS they use.· This is the type


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  ·1· · · of things where it says people don't own

  ·2· · · server but again lease part of it.

  ·3· · · · · Q.· · Okay.· What does "VPS" stand for?

  ·4· · · · · A.· · The same, virtual servers, Virtual

  ·5· · · Private Servers.

  ·6· · · · · Q.· · "Virtual Private Servers"?

  ·7· · · · · A.· · Yes.

  ·8· · · · · Q.· · Okay.· Just to try to understand

  ·9· · · the structures of your company's -- of XBT a

  10· · · little bit better or the subsidiaries of

  11· · · XBT, is shared VPS something that is offered

  12· · · by servers.com, would that fall under that

  13· · · umbrella?

  14· · · · · A.· · No.· It was a company Fozzy.

  15· · · · · Q.· · "Fozzy."· Okay.

  16· · · · · A.· · Yes.

  17· · · · · · · · And partly I see company Root.

  18· · · They have some virtual hosting.

  19· · · · · Q.· · Okay.· The next category is "Sale

  20· · · of Equipment."· Does that mean anything

  21· · · different than what it seems to say, sale of

  22· · · equipment?

  23· · · · · A.· · No.

  24· · · · · Q.· · So I guess -- what kind of

  25· · · equipment is sold?


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  ·1· · · · · A.· · Usually servers or routers or hard

  ·2· · · disk.· Typical thing which people buying for

  ·3· · · hosting.

  ·4· · · · · Q.· · Are these -- is this new equipment

  ·5· · · that people are buying or are you reselling

  ·6· · · used equipment that --

  ·7· · · · · A.· · Depends.· I mean, it can be that

  ·8· · · people use already our equipment for some

  ·9· · · time and then ask them to buy it or own it

  10· · · with discount or they can own brand new

  11· · · equipment for them.· It is two.· It can be

  12· · · both.

  13· · · · · Q.· · Do you have -- looking now -- if

  14· · · you look down at the numbers for reach month

  15· · · under that category "Sale Equipment," you

  16· · · see for example typically the numbers are

  17· · · fairly low and then in July there is almost

  18· · · $186,000.

  19· · · · · · · · Do you know how that can come to

  20· · · be?· Also for example if you flip over to

  21· · · the fourth page which is 2017 you will see

  22· · · that the numbers range from 0 to 50,000 for

  23· · · the first ten months of the year and then

  24· · · the last 10 months of the year they are very

  25· · · large, 450,000, 240,000.


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  ·1· · · · · · · · Why is there -- why is there a

  ·2· · · month or months where all of a sudden there

  ·3· · · is a large amount of equipment?

  ·4· · · · · A.· · You close a deal.

  ·5· · · · · Q.· · Okay.· All right.

  ·6· · · · · · · · So does that -- is that more

  ·7· · · likely to reflect a large deal with a large

  ·8· · · customer?

  ·9· · · · · A.· · Yes.

  10· · · · · Q.· · Okay.· Next category is "Cloud

  11· · · Servers."· What is a cloud server?

  12· · · · · A.· · Is similar to the shared VPS but

  13· · · different architecture.

  14· · · · · Q.· · Okay.· Just so I understood, what

  15· · · is the relationship between that and the

  16· · · "cloud" as people commonly refer to it?

  17· · · · · A.· · It is a cloud.· Like shared

  18· · · hosting and VPS is like old type of the

  19· · · products and cloud is like now a fancy new

  20· · · product which people really like and want to

  21· · · use.

  22· · · · · Q.· · Do you know which companies offer

  23· · · cloud servers?

  24· · · · · A.· · In the world?

  25· · · · · Q.· · No.· No.· No.· Within XBT.


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  ·1· · · · · A.· · Servers.com.

  ·2· · · · · Q.· · "Servers.com."· Okay.

  ·3· · · · · · · · Servers.com also offers managed

  ·4· · · servers?

  ·5· · · · · A.· · No.

  ·6· · · · · Q.· · Okay.· That is -- so -- but you

  ·7· · · said that managed servers --

  ·8· · · · · A.· · It can be managed and unmanaged.

  ·9· · · · · Q.· · So some revenue for servers.com

  10· · · could be included within the first category

  11· · · within the managed servers?

  12· · · · · A.· · Of course.

  13· · · · · Q.· · Okay.· Next category is "Content

  14· · · Delivery Network."· What does that mean?

  15· · · · · A.· · Is-- you know company Akamai?

  16· · · · · Q.· · I have heard of it.

  17· · · · · A.· · It is the same, the same type of

  18· · · product.

  19· · · · · Q.· · I am not sure what Akamai does.

  20· · · · · A.· · Then to save time.· For example

  21· · · you have some content which is popular, for

  22· · · example YouTube.· I will explain to you You

  23· · · Tube.

  24· · · · · · · · YouTube has made many popular

  25· · · videos, but can be video for like popular


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  ·1· · · like in United States and in Europe.· To

  ·2· · · make sure that each user can get fast access

  ·3· · · to this video what it is doing, they make a

  ·4· · · copy of this video in another location, if

  ·5· · · video is in United States they make copy in

  ·6· · · Europe if it become popular and people start

  ·7· · · to download from Europe to make a faster

  ·8· · · speed.

  ·9· · · · · Q.· · Okay.

  10· · · · · A.· · This is the same product.

  11· · · · · Q.· · So how does -- how does XBT

  12· · · provide that for a customer?

  13· · · · · A.· · Within our multiple data centers

  14· · · we put a special rack, we put a storage

  15· · · service where it is located and we provide

  16· · · them soft wire like where they upload their

  17· · · content and it does give you --

  18· · · · · Q.· · Okay.· So essentially -- and is

  19· · · that something that if I were a customer

  20· · · that I would pay separately for, is that why

  21· · · it is a separate revenue line --

  22· · · · · A.· · Yes.· You pay separate, there is a

  23· · · premium service, extra service.

  24· · · · · Q.· · Okay.· "Web and application

  25· · · development" we can probably skip because it


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  ·1· · · doesn't appear to be a big --

  ·2· · · · · A.· · It is not our business.

  ·3· · · · · Q.· · A big money order for you.

  ·4· · · · · · · · "Dedicated servers".· Explain to

  ·5· · · me the difference between dedicated servers

  ·6· · · and the other categories of servers.

  ·7· · · · · A.· · Well, it is similar.· I don't know

  ·8· · · why they split it but is very similar.          I

  ·9· · · believe we split it because of the

  10· · · companies.

  11· · · · · Q.· · So what companies would fall under

  12· · · "dedicated servers"?

  13· · · · · A.· · I believe Root is here.· Yes.· It

  14· · · looks like they put Hong Kong here and

  15· · · Singapore.· That is what I think.· I am not

  16· · · sure but this is what I believe.

  17· · · · · Q.· · Okay. "Other income" I take it can

  18· · · mean anything, interest, whatever it may be.

  19· · · · · · · · "Domains."· What -- what does that

  20· · · mean in the context of your company?

  21· · · · · A.· · Domains, we -- at that time we was

  22· · · owned two companies.· One is pananames.com

  23· · · and the second one is brandnames.com.

  24· · · · · Q.· · What did they do?

  25· · · · · A.· · You can buy domain name like


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  ·1· · · already.

  ·2· · · · · Q.· · It is like a GoDaddy, is it?

  ·3· · · · · A.· · GoDaddy also offer hosting but we

  ·4· · · offer just domain name.

  ·5· · · · · Q.· · Okay.· Now looking at the third

  ·6· · · page, the 2016 numbers, between August and

  ·7· · · September 16th there was an increase of

  ·8· · · about a million dollars which appears to be

  ·9· · · largely or almost entirely in the managed

  10· · · servers category.

  11· · · · · · · · Do you know what was the cause of

  12· · · that increase?

  13· · · · · A.· · I mean it was several customers

  14· · · who sign up for services and there also was

  15· · · one big deal we sold some services also.

  16· · · · · Q.· · So can you be more specific?

  17· · · · · A.· · Some customers you mean?

  18· · · · · Q.· · Yes.

  19· · · · · A.· · Well, I mean in general it is very

  20· · · hard to tell about all customers because we

  21· · · have tens of thousands of them.· I mean we

  22· · · cannot remember them.· It is impossible for

  23· · · anybody.

  24· · · · · · · · But some customer like in this

  25· · · period of the time from August to December,


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  ·1· · · I will tell about this one if it is okay for

  ·2· · · you.

  ·3· · · · · Q.· · From August to December?

  ·4· · · · · A.· · Yes.· Just because it is more for

  ·5· · · me like because people sign up in August and

  ·6· · · continue using during this month.

  ·7· · · · · Q.· · Okay.

  ·8· · · · · A.· · Like Exness take services from us

  ·9· · · at that time.

  10· · · · · · · · Another one who take services, IQ

  11· · · Options.

  12· · · · · · · · It was also Go Travel.

  13· · · · · Q.· · Go Travel?

  14· · · · · A.· · Yes.· Go Travel USA I think is the

  15· · · name of the company.

  16· · · · · · · · Let me remember some.· MQL5.

  17· · · · · Q.· · MQL5?

  18· · · · · A.· · They also take -- bunch of others.

  19· · · It is hard to remember.· Really thousands of

  20· · · them.· But these are some of the big ones.

  21· · · · · Q.· · Okay.· Do you have an estimate of

  22· · · how much monthly revenue came from each of

  23· · · these four starting with Exness?

  24· · · · · A.· · Exness I think they bring over

  25· · · 60,000 a month.


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  ·1· · · · · Q.· · Okay.· What about IQ Options?

  ·2· · · · · A.· · Over 50 or 60 also.

  ·3· · · · · Q.· · Go Travel?

  ·4· · · · · A.· · Over 25 I think.

  ·5· · · · · Q.· · Okay.

  ·6· · · · · A.· · And almost 20 is the MQL5.

  ·7· · · · · Q.· · That roughly would be 150,000 plus

  ·8· · · a month or something.

  ·9· · · · · · · · Other than those do you have any

  10· · · other information about the jump of a

  11· · · million dollars in managed servers revenue

  12· · · between August and September of 2016?

  13· · · · · A.· · As I told you it is really

  14· · · thousands of customers.· You have to -- each

  15· · · customer's goal one month, maybe he cancels

  16· · · some service.· Nobody can remember them.· It

  17· · · is just impossible.

  18· · · · · Q.· · Okay.· Is Excess still a customer

  19· · · today?

  20· · · · · A.· · Yes.

  21· · · · · Q.· · What about IQ Options?

  22· · · · · A.· · Yes.

  23· · · · · Q.· · What about Go Travel USA?

  24· · · · · A.· · Yes.

  25· · · · · Q.· · What about MQL5?


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  ·1· · · · · A.· · Yes.

  ·2· · · · · Q.· · Do they still -- is the level of

  ·3· · · service that they use similar, has it gone

  ·4· · · up?

  ·5· · · · · A.· · 2017, Exness go a little bit; IQ

  ·6· · · Option go a little bit more; Go Travel, I am

  ·7· · · not sure, and MQL is something like 12 or

  ·8· · · $15,000.

  ·9· · · · · Q.· · Okay.· Let's turn over to the

  10· · · fourth page, the 2017 numbers.

  11· · · · · · · · So the -- just looking at January

  12· · · and February, so the managed servers number

  13· · · is reduced.· Do you have -- what is the

  14· · · source of the reduction in that revenue?

  15· · · · · A.· · Again, there are thousands of

  16· · · customers.· I cannot control them.

  17· · · · · · · · This was a reduction because

  18· · · people just don't use the services or

  19· · · cancels them or use this month much less.

  20· · · · · Q.· · Okay.· Is there -- are there any

  21· · · particular customers that you can attribute

  22· · · that reduction to?

  23· · · · · A.· · It is really hard I told you,

  24· · · there are tens of thousands of customers.

  25· · · · · Q.· · Okay.· When you say people use it


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  ·1· · · less isn't the typical contract for one,

  ·2· · · two, three years?

  ·3· · · · · A.· · No.

  ·4· · · · · Q.· · What is the typical contract for?

  ·5· · · · · A.· · Most of the customers is month to

  ·6· · · month.· Is a standard in the industry

  ·7· · · like -- you don't ask me.

  ·8· · · · · Q.· · Okay.· So then looking on as the

  ·9· · · year moves on May, June, July, the managed

  10· · · servers revenue is increasing.· Is there --

  11· · · can you identify what the source of that

  12· · · increase was?

  13· · · · · A.· · From which month you start, from

  14· · · March?

  15· · · · · Q.· · Even starting from February --

  16· · · February to March -- I will back up a

  17· · · second.

  18· · · · · · · · Would you agree with me that

  19· · · starting from February to March, right,

  20· · · there is a -- there is an increase that

  21· · · continues, sometimes it is gradual,

  22· · · sometimes it is more throughout the rest of

  23· · · the year.

  24· · · · · A.· · Yes.· We work very hard after this

  25· · · publication to try to get the business back


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  ·1· · · and to get new customers or to ask a --

  ·2· · · existing customer to go back again.· And was

  ·3· · · really hard work for the company to do this.

  ·4· · · You have real problems with financials.

  ·5· · · · · Q.· · You have real problems?

  ·6· · · · · A.· · With credit line facilities.

  ·7· · · · · Q.· · Okay.· That is not my -- my

  ·8· · · question is, other than generally getting --

  ·9· · · either getting any more business from old

  10· · · customers or getting new customers is there

  11· · · anything else specific that you can point to

  12· · · that was the source of your managed servers'

  13· · · revenue increasing from February to March

  14· · · and then for example again from May to June

  15· · · by about 600,000 and then from June to July

  16· · · about $600,000.· Is there anything

  17· · · particular you can point to to explain the

  18· · · source of any of those increases?

  19· · · · · A.· · Well, I think in March we sign new

  20· · · customer 101XP and we get big deal with

  21· · · another company, Multiply.· This because

  22· · · 101XP is like, if I remember, is almost

  23· · · 100,000 a month.

  24· · · · · Q.· · Okay.

  25· · · · · A.· · And Multiply I think around 60 and


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  ·1· · · some other customers.· I think Depositphotos

  ·2· · · also take some services, at least one.

  ·3· · · · · Q.· · Looking at the numbers for January

  ·4· · · and February are there any particular

  ·5· · · customers that you can attribute the

  ·6· · · difference in the numbers in those months

  ·7· · · from November to December 2016?

  ·8· · · · · A.· · Well, is very hard to because

  ·9· · · there were really thousands, tens of

  10· · · thousands.· I mean only Depositphotos have

  11· · · over 30,000 customers, 25,000 customers.· It

  12· · · is very hard to really allocate somebody.

  13· · · · · Q.· · Okay.· So the answer is you can't?

  14· · · · · A.· · Very hard.

  15· · · · · Q.· · If I ask you the same question

  16· · · for, for example -- for example the

  17· · · bandwidth category, right?

  18· · · · · A.· · Yes.

  19· · · · · Q.· · Is $544,000 in November '16?

  20· · · · · A.· · Bandwidth category which ones?

  21· · · · · Q.· · Go to the third page first.· So if

  22· · · you look at November '16 bandwidth is about

  23· · · $545,000, then December it is about

  24· · · $482,000, then if you flip back over to --

  25· · · · · A.· · It is very logical actually.


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  ·1· · · · · Q.· · Why is that very logical?

  ·2· · · · · A.· · Because in December so many

  ·3· · · vacations and people just visit sites less.

  ·4· · · · · Q.· · Okay.· And then if you turn to

  ·5· · · 2017 the number is 392 for January, same

  ·6· · · thing for February.

  ·7· · · · · · · · I take it you would give me the

  ·8· · · same answer to the extent that that

  ·9· · · reflects -- the difference between those

  10· · · numbers and the numbers of November in

  11· · · 2000 -- I am going to re-- strike that and

  12· · · reframe it.

  13· · · · · · · · In January and February 2017 the

  14· · · bandwidth revenue was about 392,000, right,

  15· · · in November and December '16 the bandwidth

  16· · · revenue was 545 and 482.

  17· · · · · · · · Is there anything particular that

  18· · · you can identify as the source of the

  19· · · reduction in that revenue?

  20· · · · · A.· · It is very hard to allocate each

  21· · · customer because -- but to explain you --

  22· · · usually customer they don't have one

  23· · · facility.· Say, for example, have one data

  24· · · center, they have another one for backup.

  25· · · You can be lucky that they have a data


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  ·1· · · center within your company or it can be

  ·2· · · outside.· Because is a backup for them it is

  ·3· · · very easy to switch the traffic to another

  ·4· · · location to feel safe.· This means you can

  ·5· · · do it within minutes.· And this -- nothing

  ·6· · · we can do and they just can do it any

  ·7· · · moment.

  ·8· · · · · Q.· · Okay.· I understand you are

  ·9· · · telling me that that is what a customer can

  10· · · do.· But do you have any specific examples

  11· · · of a customer that did that?

  12· · · · · A.· · Well, maybe it looks a big

  13· · · reduction but if you cost for thousands of

  14· · · customers you cannot tell very specifically

  15· · · who was actually liable for that.· Because

  16· · · as I told you this is extra product

  17· · · bandwidth which each individually just can

  18· · · use one month more, one month less and to

  19· · · find out exactly which one is really

  20· · · problematic because I mean there are

  21· · · thousands of customers.

  22· · · · · Q.· · Would it be fair to say that you

  23· · · don't actually know whether any customers

  24· · · are switching their bandwidth, right, you

  25· · · just know how much money you are getting?


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  ·1· · · · · A.· · No.· You know that you charge them

  ·2· · · less.

  ·3· · · · · Q.· · Right.

  ·4· · · · · A.· · They use less this month and that

  ·5· · · is it.· This is what we know.

  ·6· · · · · Q.· · But you don't actually know why

  ·7· · · they are using less?

  ·8· · · · · A.· · No.

  ·9· · · · · Q.· · Okay.

  10· · · · · A.· · But it is strange reduction.

  11· · · · · Q.· · So that we don't prolong this

  12· · · would it be fair to say that, you know, for

  13· · · any of the categories in which revenue may

  14· · · have gone -- may have been less in early

  15· · · 2017 than in 2016 you can't identify a

  16· · · specific source of that reduction, right?

  17· · · · · A.· · It is very hard.· For example,

  18· · · Shagar VPS is a big reduction, 38,000, yes.

  19· · · · · Q.· · Okay.

  20· · · · · A.· · But how you going to -- like if

  21· · · you reduce revenue around 28,000 users.· Why

  22· · · is start using less or more is very hard.

  23· · · · · · · · Do we finish with this one?· I am

  24· · · sorry.

  25· · · · · Q.· · Almost.


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  ·1· · · · · · · · So your counsel produced to us a

  ·2· · · few days ago a bunch of invoices related

  ·3· · · to -- what we understand to be related to

  ·4· · · Alexander Zhukov although I am asking you

  ·5· · · about that but the-- actually, I am going

  ·6· · · to -- let's go ahead and mark this.

  ·7· · · · · · · · MR. SIEGEL:· This is Exhibit 5.

  ·8· · · · · · · · (Invoice from servers.com to

  ·9· · · customer ibetters2@gmail.com. was marked

  10· · · Exhibit 5 for identification)

  11· · BY MR. SIEGEL:

  12· · · · · Q.· · So just for the record, this

  13· · · appears to be an invoice from servers.com to

  14· · · the customer ibetters2@gmail.com.· Is that

  15· · · right?

  16· · · · · A.· · Yes.

  17· · · · · Q.· · Turn to the last page.

  18· · · · · A.· · Completely last page?

  19· · · · · Q.· · The completely last page, yes.

  20· · · · · · · · So it indicates that the total for

  21· · · the invoice is $151,169.33, right.· That is

  22· · · what this customer is being billed in

  23· · · October 2016, right?

  24· · · · · A.· · This looks correct, yes.

  25· · · · · Q.· · Okay.· And just so I understand


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  ·1· · · how to read these, it then says, closing

  ·2· · · balance negative $115,000 and change.

  ·3· · · · · · · · Does that mean that is how much he

  ·4· · · actually owes -- the customer actually owes

  ·5· · · at the point of this invoice?

  ·6· · · · · A.· · Yes.· Most probably he has some

  ·7· · · positive balance.

  ·8· · · · · Q.· · Okay.· Meaning from prior months?

  ·9· · · · · A.· · Yes.

  10· · · · · Q.· · Why was this customer billed at

  11· · · ibetters2@gmail.com in St. Petersburg?

  12· · · · · A.· · This is what he give us

  13· · · information.· He was -- as I know he born in

  14· · · St. Petersburg.

  15· · · · · Q.· · You knew that he was born in

  16· · · St. Petersburg?

  17· · · · · A.· · Yes.

  18· · · · · · · · MR. SIEGEL:· Exhibit 6.

  19· · · · · · · · (Invoice from Webzilla to

  20· · · Alexander Zhukov was marked Exhibit 6 for

  21· · · identification)

  22· · · · · · · · THE WITNESS:· Are we finish with

  23· · · · · this one?

  24· · BY MR. SIEGEL:

  25· · · · · Q.· · Probably, yes.


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  ·1· · · · · · · · Exhibit 6 appears to be an invoice

  ·2· · · from Webzilla to Alexander Zhukov.

  ·3· · · · · · · · Do you know why Webzilla billed

  ·4· · · him as Alexander Zhukov and the other

  ·5· · · servers.com billed him as

  ·6· · · ibetters2@gmail.com at St. Petersburg?

  ·7· · · · · A.· · We knew him also because both

  ·8· · · accounts was opened for him, he provide his

  ·9· · · passport, he stated that and both accounts

  10· · · belong to him.

  11· · · · · Q.· · Okay.· It appears to me that on

  12· · · these invoices that people are billed

  13· · · essentially in advance, in other words, you

  14· · · are billing them on the first of the month

  15· · · for services to be used that month, right?

  16· · · · · A.· · Yes.· They have 30 days to pay.

  17· · · · · Q.· · "30 days to pay."· Okay.

  18· · · · · · · · Then in general it looked to me

  19· · · like if somebody goes over their bandwidth

  20· · · you would then bill them the next month for

  21· · · the overage?

  22· · · · · A.· · Yes.

  23· · · · · Q.· · Okay.· Do you know if this

  24· · · Webzilla invoice went to the same

  25· · · ibetters2@gmail.com address?


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  ·1· · · · · A.· · I don't know but I believe it is

  ·2· · · the same because it was only e-mail which he

  ·3· · · was used for communication.

  ·4· · · · · · · · MR. SIEGEL:· Let's mark this as

  ·5· · · · · Exhibit 7.

  ·6· · · · · · · · (Invoice for November 2016 with

  ·7· · · total of $379,483.72 was marked Exhibit 7

  ·8· · · for identification)

  ·9· · BY MR. SIEGEL:

  10· · · · · Q.· · This is -- was produced to us as

  11· · · an invoice for November 2016 and according

  12· · · to page 171 the total was for November

  13· · · $379,483.72?

  14· · · · · A.· · Where I have to look?

  15· · · · · Q.· · Look at the next to last page

  16· · · actually.

  17· · · · · A.· · Next to last.· Okay.· Just a

  18· · · second.

  19· · · · · · · · Yes.

  20· · · · · Q.· · Okay.· How is it determined how

  21· · · much to bill somebody for the next month?

  22· · · · · A.· · Depends on the services which he

  23· · · has from the first of the month which he

  24· · · don't cancel before.

  25· · · · · Q.· · Just for example in this case


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  ·1· · · there was roughly 151, $152,000 billed on

  ·2· · · October 1st and then there is roughly

  ·3· · · $380,000 billed on November 1st?

  ·4· · · · · A.· · Yes.· If you check it it was

  ·5· · · partially -- for example, if you did get the

  ·6· · · service in the middle of the month we bill

  ·7· · · it the next month.

  ·8· · · · · Q.· · Okay.· I see.

  ·9· · · · · A.· · If you check right here you will

  10· · · find out this.

  11· · · · · Q.· · I see.

  12· · · · · · · · So some of the entries indicate

  13· · · they were servers that were started to be

  14· · · used in October?

  15· · · · · A.· · Yes.

  16· · · · · Q.· · I understand.

  17· · · · · · · · If you look at the first page

  18· · · again it says this is prepared for the

  19· · · Mintek Group in the Seychelles?

  20· · · · · A.· · Yes.

  21· · · · · Q.· · Why?· Why did this now get billed

  22· · · to the Mintek Group in the Seychelles?

  23· · · · · A.· · He asked us to issue invoice of

  24· · · this company, just he -- this is his

  25· · · operation company.· He asked us to invoice


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  ·1· · · under this company name.

  ·2· · · · · Q.· · When did he ask you to do that?

  ·3· · · · · A.· · If it was in November invoice 2016

  ·4· · · this means he asked us to change in October

  ·5· · · because the invoice is issued automatically.

  ·6· · · · · Q.· · Do you know who he asked?

  ·7· · · · · A.· · This I don't know.

  ·8· · · · · Q.· · Do you know if -- did he provide a

  ·9· · · reason for asking you now to bill him at

  10· · · some group in the Seychelles as opposed to

  11· · · St. Petersburg?

  12· · · · · A.· · Well, I don't understand, like

  13· · · which he -- for example, if you have a

  14· · · company which you operate and you want to

  15· · · switch operations of this company from

  16· · · here -- actually, for me it was strange that

  17· · · he -- originally because he like have to use

  18· · · a company but it was still his account and

  19· · · we know about that.· We still have his

  20· · · passport and we know it was his company.

  21· · · · · Q.· · How do you know that the Mintek

  22· · · Group was his company?

  23· · · · · A.· · That is what he told us.

  24· · · · · Q.· · Did he give you an explanation for

  25· · · why he previously had wanted to be billed at


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  ·1· · · his personal e-mail address or a personal

  ·2· · · e-mail address?

  ·3· · · · · · · · MR. GURVITS:· Objection.

  ·4· · · · · · · · THE WITNESS:· I don't know, that

  ·5· · · · · is how he registered.

  ·6· · BY MR. SIEGEL:

  ·7· · · · · Q.· · Okay.

  ·8· · · · · · · · MR. SIEGEL:· Exhibit 8.

  ·9· · · · · · · · (Invoice dated October 18, 2016

  10· · · was marked Exhibit 8 for identification)

  11· · BY MR. SIEGEL:

  12· · · · · Q.· · I will just represent to you that

  13· · · this is an invoice that is dated October 18,

  14· · · 2016 but there are similar ones for other

  15· · · months.

  16· · · · · · · · The description is "Transfer of

  17· · · balance to account 1772 Alexander Zhukov,

  18· · · Webzilla, Inc."

  19· · · · · · · · Can you explain what that means?

  20· · · · · A.· · He have some money on account and

  21· · · he asked us to pay his bill of Webzilla.

  22· · · · · Q.· · Let's do the next one.

  23· · · · · · · · MR. SIEGEL:· Exhibit 9.

  24· · · · · · · · (Invoice dated December 1, 2016

  25· · · was marked Exhibit 9 for identification)


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  ·1· · BY MR. SIEGEL:

  ·2· · · · · Q.· · So Exhibit 9 is an invoice dated

  ·3· · · December 1st, 2016.· Also to the Mintek

  ·4· · · Group in the Seychelles and if you look at

  ·5· · · the last page it indicates that the bill for

  ·6· · · September -- from servers.com, is 292,352.

  ·7· · · · · · · · It -- again without showing you

  ·8· · · document after document it appears that this

  ·9· · · customer generally each month paid 19,400 to

  10· · · Webzilla and then paid a different amount to

  11· · · servers.com depending I gather on how much

  12· · · he used.

  13· · · · · A.· · This I don't know.· I don't see

  14· · · all documents.

  15· · · · · Q.· · What I will ask you though is we

  16· · · just saw that from servers.com in November

  17· · · the bill was about 380,000.

  18· · · · · · · · We also saw a bill from Webzilla

  19· · · for 19,400.

  20· · · · · · · · In December the bill from

  21· · · servers --

  22· · · · · A.· · Sorry, but bill from Webzilla?

  23· · · · · Q.· · Right.

  24· · · · · A.· · Yes.· 19,000.

  25· · · · · Q.· · Okay.· Bill from December for


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  ·1· · · servers.com is 292,000 and change.

  ·2· · · · · · · · I can represent to you there is

  ·3· · · another bill from Webzilla for 19.4.

  ·4· · · · · · · · The information that you had

  ·5· · · previously produced to us indicated that as

  ·6· · · is reflected in these invoices the total

  ·7· · · amount billed to this customer in November

  ·8· · · was about 398,000, I think the total amount

  ·9· · · in December was about 311,000, I gather that

  10· · · includes both Webzilla and servers.com.

  11· · · · · · · · My question is when the white ops

  12· · · report was released, right, you know what I

  13· · · am talking about?

  14· · · · · A.· · Yes.

  15· · · · · Q.· · You estimated that the amount of

  16· · · revenue that you were going to lose by --

  17· · · that this customer was generating was

  18· · · $200,000 a month, do you remember that?

  19· · · · · A.· · No.

  20· · · · · Q.· · You don't remember that?

  21· · · · · A.· · Could you remind me please?

  22· · · · · Q.· · Okay.· Maybe we will take a break

  23· · · and I will get you the e-mails.

  24· · · · · · · · But there were e-mails in which

  25· · · there is an estimate of 200,000 -- about


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  ·1· · · $200,000 a month that the company was going

  ·2· · · to lose by terminating this customer.

  ·3· · · · · A.· · What is the question?

  ·4· · · · · Q.· · My question is, isn't -- wasn't

  ·5· · · that estimate in fact low?· In other words,

  ·6· · · in November you were -- you had billed the

  ·7· · · customer almost 400,000, in December it was

  ·8· · · somewhat over 300,000.· The amount of money

  ·9· · · that the company stood to lose at that point

  10· · · was in fact greater than $200,000 a month,

  11· · · right?

  12· · · · · A.· · But I explain you why November was

  13· · · higher because actually he used some of the

  14· · · service in October.

  15· · · · · Q.· · Okay.

  16· · · · · A.· · It is not relevant that this was

  17· · · typical invoice for November.

  18· · · · · Q.· · Okay.· But in December in which

  19· · · appears -- is reflected just December, the

  20· · · total is around or a little over 300,000

  21· · · between the two companies.· So would it

  22· · · still be fair to say that the --

  23· · · · · A.· · If I say 200 and he is 300 it is

  24· · · accurate to say that my estimation was not

  25· · · correct?


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  ·1· · · · · Q.· · Fair enough.

  ·2· · · · · · · · MR. SIEGEL:· This is Exhibit 10.

  ·3· · · · · · · · (Bill to ibetters2@gmail.com dated

  ·4· · · January 1, 2017 was marked Exhibit 10 for

  ·5· · · identification)

  ·6· · BY MR. SIEGEL:

  ·7· · · · · Q.· · Exhibit 10 was produced to us as a

  ·8· · · bill to ibetters2@gmail.com dated January 1,

  ·9· · · 2017 and according to the last page the

  10· · · total sum is $261,078.

  11· · · · · · · · Why was a bill sent in

  12· · · January 2017?

  13· · · · · A.· · System bills automatically and

  14· · · then we just create credit --

  15· · · · · Q.· · Finish your answer.

  16· · · · · A.· · The system create invoice

  17· · · automatically and because there was no

  18· · · customer anymore we just issued credit on

  19· · · the account and is actually zero.

  20· · · · · Q.· · Okay.· Do you know why was it sent

  21· · · to ibetters2@gmail.com in the Seychelles?

  22· · · · · A.· · Sorry, again?

  23· · · · · Q.· · Well, I showed you an invoice

  24· · · previously, right, where it was billed at

  25· · · ibetters2@gmail.com in St. Petersburg,


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  ·1· · · right?

  ·2· · · · · A.· · Yes.

  ·3· · · · · Q.· · There were a couple of months

  ·4· · · where it was billed as the Mintek Group in

  ·5· · · the Seychelles.

  ·6· · · · · A.· · Yes.

  ·7· · · · · Q.· · Now this is billed at

  ·8· · · ibetters2@gmail.com in the Seychelles.· Do

  ·9· · · you know why the system would have done

  10· · · this?

  11· · · · · A.· · This I don't know but it is the

  12· · · same person.

  13· · · · · · · · MR. SIEGEL:· This is Exhibit 11.

  14· · · · · · · · (Three Webzilla invoices was

  15· · · marked Exhibit 11 for identification)

  16· · BY MR. SIEGEL:

  17· · · · · Q.· · So Exhibit 11 are three Webzilla

  18· · · invoices, first one from January 2017, the

  19· · · second from February 3 indicates pro forma

  20· · · for March.

  21· · · · · · · · Why were these invoices generated

  22· · · for Mr. Zhukov?

  23· · · · · A.· · It is generated automatically.· We

  24· · · just issue for this amount.· You cut the

  25· · · statements.· You can see that this was


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  ·1· · · completely refunded.

  ·2· · · · · Q.· · When you say "the statements,"

  ·3· · · what do you mean?

  ·4· · · · · A.· · Well, I mean you see -- I believe

  ·5· · · you have this refund notices that we owe

  ·6· · · this money.· I don't know, I am not so good

  ·7· · · on English.

  ·8· · · · · · · · Balance was zero of this invoice.

  ·9· · · · · Q.· · Okay.· So are you saying the

  10· · · customer did not actually -- did the

  11· · · customer actually pay any money in 2017?

  12· · · · · A.· · No.· Zero.

  13· · · · · Q.· · Do you know how much revenue the

  14· · · company actually lost as a result of the

  15· · · termination of Mr. Zhukov?

  16· · · · · A.· · The months?

  17· · · · · Q.· · In total.

  18· · · · · · · · I will back up a second.

  19· · · · · · · · Mr. Zhukov was paying you a

  20· · · certain amount of money, about $300,000 a

  21· · · month at that point, right?

  22· · · · · A.· · Yes.

  23· · · · · Q.· · You were paying for servers that

  24· · · he was using, right?

  25· · · · · A.· · Yes.


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  ·1· · · · · Q.· · So do you have -- did you ever do

  ·2· · · a calculation of how much it actually cost

  ·3· · · the company to terminate Mr. Zhukov?

  ·4· · · · · A.· · I told you -- I remember that I

  ·5· · · told you in my deposition that -- if it be

  ·6· · · like normal situation, like we don't have

  ·7· · · any bad publicity during that period.· For

  ·8· · · me it would take three to four months to

  ·9· · · sell it.· For this period of time it took

  10· · · eight to nine months to sell the servers.

  11· · · · · Q.· · It took eight or nine months to

  12· · · sell the servers?

  13· · · · · A.· · Much longer as usually happening.

  14· · · · · Q.· · Okay.· At Mr. Dvas' deposition he

  15· · · told us that there were still servers that

  16· · · were not resold at the point of that

  17· · · deposition.· Do you have any reason to think

  18· · · that is not accurate?

  19· · · · · A.· · This is accurate because you

  20· · · always have a flow of the service.· One

  21· · · month the customer can cancel service, one

  22· · · month they take it 100 percent.· Most of

  23· · · them were sold, I mean a big percentage,

  24· · · 80 percent, 100 percent, that was sold.

  25· · · · · · · · But each month is some level of


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  ·1· · · the usage.· For example, clients like

  ·2· · · Multiply using games, one game become less

  ·3· · · popular this month they use -- the next

  ·4· · · month they take it more.· It is just -- it

  ·5· · · all depends on how the project is going.

  ·6· · · · · Q.· · Okay.· So that if I understand

  ·7· · · that that is an explanation for what

  ·8· · · Mr. Dvas said, right.· What he said was

  ·9· · · correct?

  10· · · · · A.· · Most of them were sold.· Some

  11· · · maybe not and he is correct.

  12· · · · · Q.· · You used the term "80 percent."

  13· · · · · · · · Do you actually know the

  14· · · percentage of servers that were resold and

  15· · · when they were resold or is that a guess?

  16· · · · · A.· · A guess but is a usual number.

  17· · · · · Q.· · I am sorry.· I am not sure that I

  18· · · heard.· What was the answer to my question

  19· · · is it a guess?

  20· · · · · A.· · It is a guess but if I have

  21· · · servers in stock for me there is no reason

  22· · · for me to buy new ones.· Half the time I

  23· · · sell them.· Only if it is specific ones.

  24· · · If -- and I know that they are buying

  25· · · servers means actually that we sold most of


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  ·1· · · them and that we need to buy more.

  ·2· · · · · Q.· · Okay.

  ·3· · · · · · · · MR. SIEGEL:· Let's go off the

  ·4· · · · · record.

  ·5· · · · · · · · THE VIDEOGRAPHER:· Going off the

  ·6· · · · · record at 12:39 p.m.

  ·7· · · · · · · · (Recess)

  ·8· · · · · · · · THE VIDEOGRAPHER:· We are back

  ·9· · · · · on the record at 12:42 p.m.

  10· · · · · · · · MR. SIEGEL:· Okay.· That is all

  11· · · · · the questions I have.

  12· · · · · · · · MR. GURVITS:· Nothing from us.

  13· · · · · · · · THE VIDEOGRAPHER:· This

  14· · · · · concludes the deposition.

  15· · · · · · · · We are going off the record at

  16· · · · · 12:43 p.m.

  17· · · · · · · · (Time noted: 12:43 p.m.)

  18
  · · · · ____________________
  19· · · ALEKSEJ GUBAREV

  20
  · · · · · · ·Subscribed and sworn to
  21· · · · · ·before me this· · ·day
  · · · · · · ·of· · · · · 2018.
  22

  23· · · · · ·_______________________

  24

  25


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  ·1· · · · · · · · · · · CERTIFICATE

  ·2· · · STATE OF NEW YORK )
  · · · · · · · · · · · · · :· ss
  ·3· · · COUNTY OF NEW YORK)

  ·4· · · · · · · · I, Steven Neil Cohen, a Registered

  ·5· · · Professional Reporter and Notary Public

  ·6· · · within and for the State of New York, do

  ·7· · · hereby certify:· That ALEKSEJ GUBAREV, the

  ·8· · · witness whose deposition is herein before

  ·9· · · set forth, was duly sworn by me and that

  10· · · such deposition is a true record of the

  11· · · testimony given by such witness.

  12· · · · · · · · I further certify that I am not

  13· · · related to any of the parties to this action

  14· · · by blood or marriage and that I am in no way

  15· · · interested in the outcome of this matter.

  16· · · · · · · · I further certify that neither the

  17· · · deponent nor a party requested a review of

  18· · · the transcript pursuant to Federal Rule of

  19· · · Civil Procedure 30(e) before the deposition

  20· · · was completed.

  21· · · · · · · · In witness whereof, I have

  22· · · hereunto set my hand this 2nd day of July

  23· · · 2018.

  24· · · · · · · · · · · -------------------------
  · · · · · · · · · · · · STEVEN NEIL COHEN, RPR
  25


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  13· · · · · ·translated by

  14· · · · · ·interpreter as "Web

  15· · · · · ·project servers.com

  16· · · · · ·information security

  17· · · · · ·audit" of August,

  18· · · · · ·September 2015

  19

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  21· · · · · ·PC-80

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  23· · · ·5· ·Invoice from· · · · · · ·139

  24· · · · · ·servers.com to

  25· · · · · ·customer


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  ·1· · · · · ·ibetters2@gmail.com.

  ·2

  ·3· · · ·6· ·Invoice from Webzilla· · 140

  ·4· · · · · ·to Alexander Zhukov

  ·5

  ·6· · · ·7· ·Invoice for November· · ·142

  ·7· · · · · ·2016 with total of

  ·8· · · · · ·$379,483.72

  ·9

  10· · · ·8· ·Invoice dated October· · 145

  11· · · · · ·18, 2016

  12

  13· · · ·9· ·Invoice dated December· ·145

  14· · · · · ·1, 2016

  15

  16· · · ·10· Bill to· · · · · · · · · 149

  17· · · · · ·ibetters2@gmail.com

  18· · · · · ·dated January 1, 2017

  19

  20· · · ·11· Three Webzilla invoices· 150

  21

  22

  23

  24

  25


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  ·1· · · · · · · · DEPOSITION ERRATA SHEET

  ·2· · · Assignment No.· J237459

  ·3· · · Case Caption:· ·Gubarev vs. Buzzfeed, Inc.

  ·4· · · · ·DECLARATION UNDER PENALTY OF PERJURY

  ·5· · · · · I declare under PENALTY OF PERJURY

  ·6· · · that I have read the entire transcript of

  ·7· · · my Deposition taken in the captioned

  ·8· · · matter or the same has been read to me,

  ·9· · · and the same is true and accurate, save if

  10· · · any, as indicated by me on the DEPOSITION

  11· · · ERRATA SHEET hereof, with the

  12· · · understanding that I offer these changes

  13· · · as if still under oath.

  14· · · _________________________________________

  15· · · · · · · · ALEKSEJ GUBAREV

  16· · · Subscribed and sworn to on the _______ day
  · · · · of __________, 2018 before me,
  17

  18· · · __________________________________________

  19· · · Notary Public,
  · · · · in and for the State of ________________.
  20

  21

  22

  23

  24

  25


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  ·3· · · __________________________________________

  ·4· · · Reason for change:________________________

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  22· · · Reason for change:________________________

  23· · · SIGNATURE:_____________________DATE:______

  24· · · · · · · ALEKSEJ GUBAREV

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